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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                LAREDO DIVISION

MA LOURDES GONZALEZ,            §                  CIVIL ACTION
LOURDES RODRIGUEZ DE            §
GONZALEZ, LESLYLE GONZALEZ,     §                  NO. 5:20-cv-37
CYNTHIA GONZALEZ,               §
LAURA GATICA, and               §                  JUDGE
ROBERTO GONZALEZ ANCIRA,        §
INDIVIDUALLY AND AS             §                  MAGISTRATE JUDGE
REPRESENTATIVE OF THE ESTATE    §
OF ROBERTO GONZALEZ JR.         §
     Plaintiffs,                §
                                §
vs.                             §
                                §
JIT TRANSPORT LLC,              §
ASHIRWAD GROUP LLC,             §
GERMAN RIOS JR., INDIVIDUALLY,  §
AND CARLOS SANCHEZ,             §
INDIVIDUALLY AND D/B/A          §
C&G TRUCKING, RAUL RAMIREZ, and §
WEEKS MARINE, INC.              §
      Defendants.               §

               INDEX OF ALL FILINGS PURSUANT TO LOCAL RULE 81 AND
                 AS AN EXHIBIT TO THE NOTICE OF REMOVAL (R. Doc. 1)


 Attachment 1      Pleadings and Executed Process Filed in the 341st Judicial District,
                   Webb County, Texas, Cause No. 2020CVF00022D3

                         Plaintiff’s Original Petition, Request for Disclosure, Lourdes
                         Rodriguez de Gonzalez’s First of Interrogatories to Defendants &
                         Lourdes Rodriguez de Gonzalez’s First Request for Production to
                         Defendants
                         Civil Case- Calendar Call Settings
                         Citation to JLT Transport LLC
                         Citation to Ashirwad Group LLC
                         Citation to German Rios Jr.
                         Citation to Carlos Sanchez
                         Citation to Raul Ramirez


{N3981241.1}
                                               1
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                       Citation to Weeks Marine
                       Citation to German Rios Jr. & Carlos Sanchez Collectively d/b/a C &
                       G Trucking
                       Affidavit of Personal Service to Weeks Marine, Inc.
                       Affidavit of Service to Raul Ramirez
                       Process Server’s Return on Carlos Sanchez
                       Affidavit of Service of German Rios Jr. & Carlos Sanchez Collectively
                       d/b/a C & G Trucking
                       Process Server’s Return on German Rios
 Attachment 2    Docket Sheet
 Attachment 3    List of All Counsel of Record



                                          Respectfully submitted,

                                           /s/ Jennifer A. David
                                          JEFFERSON R. TILLERY (SDTX #295817)
                                          C. BARRETT RICE (SDTX #815456)
                                          JENNIFER A. DAVID (SDTX #3229371)
                                          JONES WALKER LLP
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                                          JUSTIN P. QUIN (TX Bar No. 24103893)
                                          JONES WALKER LLP
                                          811 Main Street, Suite 2900
                                          Houston, Texas 77002
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                                          Attorneys for Defendant, Weeks Marine, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing document has been forwarded to all

counsel of record by hand, electronic filing, email and/or depositing a copy of same in the U.S.

mail, postage prepaid and properly addressed this 9th day of March, 2020.

                                              /s/ Jennifer A. David
                                              JENNIFER A. DAVID




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                 ATTACHMENT 1
          Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 5 of 78
                                                                                                                   Filed
                                                                                                   1/31/2020 12:26 PM
                                                                                                      Esther Degollado
                                                                                                          District Clerk
                                                                                                         Webb District
                                             CAUSE NO.                                                  Serenidad Diaz
                                                                                                   2020CVF000220D3

 MA LOURDES GONZALEZ INDIVIUALLY, §                                IN THE DISTRICT COURT
 LOURDES RODRIGUEZ DE              §
 GONZALEZ INDIVIUDALLY,            §
 LESLYLE GONZALEZ INDNIDUALLY,     §
 CYNTHIA GONZALEZ INDIVIDUALLY, §
 LAURA GATICA INDIVIDUALLY         §
 ROBERTO GONZALEZ ANCIRA           §
 INDIVIDUALLY & AS REPRESENTATNE §
 OF ESTATE OF ROBERTO GONZALEZ JR. §
      Plaintiffs,                  §

 V.                                                       §               NDICIAL DISTRICT

 JIT TRANSPORT LLC.,               §
 ASHIRWAD GROUP LLC,               §
 GERMAN RIOS JR. INDIVIDUALLY,     §
 & CARLOS SANCHEZ INDIVIDUALLY, & §
 D/B/A C & G TRUCKING,             §
 RAUL RAMIREZ, &WEEKS MARINE, INC. §
       Defendants.                 §                               WEBB COUNTY, TEXAS

   PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES
      RODRIGUEZ DE GONZALEZ`S FIRST SET OF INTERROGATORIES TO
  DEFENDANTS &LOURDES RODRIGUEZ DE GONZALEZ`S FIRST REQUEST FOR
                     PRODUCTION TO DEFENDANTS

 TO THE HONORABLE JUDGE OF SAID COURT:

               COMES NOW MA LOURDES GONZALEZ, LOURDES RODRIGUEZ DE

 GONZALEZ,                 LESLYLE          GONZALEZ,    CYNTHIA   GONZALEZ,    LAURA      GATICA,

 ROBERTO GONZALEZ ANCIRA ("Plaintiffs"), in the above-entitled civil action, and file this

 Original Petition, Request for Disclosure, First Set of Interrogatories to Defendants and First Re-

 quest for Production to Defendants, complaining of Defendants, JIT TRANSPORT LLC,

 ASHIRWAD GROUP LLC, GERMAN RIOS JR., CARLOS SANCHEZ, C & G TRUCKING,

 RAUL RAMIREZ, &WEEKS MARINE, INC., (collectively, "Defendants"), and for their causes

 of a      #i~~~~{I~hV,r~~spectfully show unto the Court the following:
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                          O/sue/iii
    -~Q:~ ~ .              •~%         I.      AMOUNT IN CONTROVERSY
   ~v .                     •~
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_ r~;          <<- • ,:      :n r  -                                                        ~f the i~~naL I certi
                                                                          the ~p    ~     yday of.~~. 20 _        cr
_'—:          ~' ~     'n                           Page 1 of 19                    ESTHER L~EGOLLADO
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                                                                                 Cierk of the D~str~ct Courts and
  r,DJ'•..,~       ,••~~~~~~
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                                                                                ~_
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1.     Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek monetary relief

over $1,000,000.

                                     II.      DISCOVERY

2.     Pursuant to Rule 190.4 of the Texas Rules of Civil Procedure, discovery is intended to be

conducted under level 3.

                                       III.    PARTIES

3.     A.      MA LOURDES GONZALEZ, Plaintiff in the above-styled numbered cause resides

in Ramos Arizpe, Coahuila, Mexico.

       B.      LOURDES RODRIGUEZ DE GONZALEZ, Plaintiff in the above-styled num-

bered cause resides in Ramos Arizpe, Coahuila, Mexico.

       C.      LESLYLE GONZALEZ, Plaintiff in the above-styled numbered cause resides in

Ramos Arizpe, Coahuila, Mexico.

       D.      CYNTHIA GONZALEZ, Plaintiff in the above-styled numbered cause resides in

Ramos Arizpe, Coahuila, Mexico.

       E.      LAURA GATICA, Plaintiff in the above-styled numbered cause resides in Ramos

Arizpe, Coahuila, Mexico

       F.      ROBERTO GONZALEZ ANCIRA, Plaintiff in the above-styled numbered cause

resides in Ramos Arizpe, Coahuila, Mexico and brings this wrongful-death and survival action as

the parent and on behalf of the estate Decedent ROBERTO GONZALEZ JR., who at the time of

death, was a resident of Texas. Currently no administration is pending and none is necessary. See

Shepard v. Ledford, 962 SW2d 28, 31-32 (Tex. 1998)

       G.     JIT TRANSPORT LLC, Defendant in the above styled numbered cause is a limited

liability company organized and existing under the laws of Texas, doing business in the State of

Texas, and may be served with process pursuant to sections 5.201 and 5.255 of the Texas Business



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Organizations Code, by serving its registered agent, Shetul B. Muchhala, 101 West Del Mar, Suite

SE, Laredo, Texas 78041 via private process.

       H.      ASHIRWAD GROUP LLC, Defendant in the above styled numbered cause is a

limited liability company organized and existing under the laws of Texas, doing business in the

State of Texas, and maybe served with process pursuant to sections 5.201 and 5.255 of the Texas

Business Organizations Code, by serving its registered agent, Shetul B. Muchhala, 101 West Del

Mar, Suite SE, Laredo, Texas 78041 via private process.

       I.      GERMAN BIOS JR. & CARLOS SANCHEZ collectively D/B/A C & G TRUCK-

ING, Defendant (hereinafter C & G) in the above styled numbered cause is a general partnership

which has filed with Webb County an assumed name certificate of ownership as C & G Trucking,

does business in the State of Texas, and maybe served with process by serving the general partners,

German Rios Jr., 1717 B Cortez, Laredo, Texas 78043 and Carlos Sanchez Jr., 4019 Santa Cleo-

tilde, Laredo, Texas, 78041 via private process.

       J.      GERMAN RIOS JR, Defendant in the above styled numbered cause is an individ-

ual who resides in Laredo, Webb County, Texas and maybe served with process at 1717 B Cortez,

Laredo, Texas 78043 or wherever he may be found via private process.

       K.      CARLOS SANCHEZ, Defendant in the above styled numbered cause is an indi-

vidual who resides in Laredo, Webb County, Texas and maybe served with process at 4019 Santa

Cleotilde, Laredo, Texas, 78041 or wherever he may be found via private process.

       L.      RAUL RAMIREZ, Defendant in the above styled numbered cause is an individual

who resides in Brookshire, Fort Bend County, Texas and may be served with process at 36215

County Line Road, Brookshire, Texas, 77423 or wherever he may be found via private process.

       M.      WEEKS MARINE, INC., Defendant in the above styled numbered cause is a cor-

poration organized and existing under the laws of New Jersey, doing business in the State of Texas,



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and may be served with process pursuant to sections 5.201 and 5.255 of the Texas Business Or-

ganizations Code, by serving its registered agent, Thomas P Boynton 11011 Richmond Avenue,

Suite 650, Houston, Texas 77042 via private process.

                              IV.      JURISDICTION AND VENUE

4.      The subject matter in controversy is within the jurisdictional limits of this court.

5.      This court has jurisdiction over the parties because DEFENDANT CARLOS SANCHEZ,

DEFENDANT GERMAN RIOS JR., DEFENDANT RAUL RAMIREZ were Texas residents at

the time the cause of action accrued.

6.      This Court has jurisdiction over Defendant WEEKS MARINE, INC., because said Defend-

ant purposefully availed itself of the privilege of conducting activities in the State of Texas and

established minimum contacts sufficient to confer jurisdiction over said Defendant, and the as-

sumption of jurisdiction over Defendant WEEKS MARINE, INC., will not offend traditional no-

tions of fair play and substantial justice and is consistent with the constitutional requirements of

due process.

7.      Plaintiff would show that the causes of action specified herein arose from or relate to the

contacts of Defendant WEEKS MARINE, INC., to the State of Texas, the existence of which

confers upon this Court specific jurisdiction over said Defendant.

8.      Furthermore, Plaintiff would show that Defendant WEEKS MARINE, INC., engaged in

activities constituting business in the State of Texas, as provided by Section 17.042 of the Texas

Civil Practice and Remedies Code, in that it: (1) contracted by mail or otherwise with a Texas

resident, wherein a party to such contract incurred an obligation to tender performance, in whole

or in part, within this state; (2) committed a tort, in whole or in part, in this state; and (3) recruited

Texas residents, including but not limited to Defendant RAUL RAMIREZ, directly or through an

intermediary located in this state, for employment inside or outside this state.



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9.      The Court has jurisdiction over Defendant JIT TRANSPORT LLC as it is organized under

the laws of the State of Texas and maintains its principal place of business in Laredo, Webb

County, Texas.

10.    The Court has jurisdiction over Defendant ASHIRWAD GROUP LLC as it is organized

under the laws of the State of Texas and maintains its principal place of business in Laredo, Webb

County, Texas.

11.    The Court has jurisdiction over GERMAN RIOS JR. & CARLOS SANCHEZ D/B/A C &

G TRUCKING as it operates as a general partnership doing business in Texas and has filed with

Webb County an assumed name certificate of ownership evidencing both Defendant GERMAN

RIOS JR. & CARLOS SANCHEZ as general partners and residents of Texas.

12.    Venue is proper in Webb County, Texas, pursuant to §§15.001 & 15.002(a) of the Texas

Civil Practice and Remedies Code under one or more of the following facts:

       a.      German Rios Jr, a natural person, resided in Webb County at the time the cause of
               action accrued;

       b.     Carlos Sanchez, a natural person, resided in Webb County at the time the cause of
              action accrued;

       c.     JIT Transport LLC, a limited liability company, maintained its principal place of
              business in Webb County at the time the cause of action accrued;

       d,     Ashirwad Group LLC, a limited liability company, maintained its principal place
              of business in Webb County at the time the cause of action accrued;

       e.     German Rios Jr. and Carlos Sanchez collectively d/b/a C & G Trucking, a general
              partnership, maintained its principal place of business in Webb County at the time
              the cause of action accrued

       £      Jurisdiction is proper in this Court because Plaintiffs are entitled to damages in
              excess of the minimum jurisdiction of this Court. Specifically, Plaintiffs seek mon-
              etary relief over one million dollars ($1,000,000.00).

                                V.     FACTS OF THE CASE




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13.     This is a lawsuit for wrongful death damages brought by the surviving family members of

the Decedent pursuant to the provisions of Chapter 71 of the Texas Civil Practice &Remedies

Code and the legion of Texas cases interpreting liability and damages under said law. TXI Trans-

portation Co. v. Hughes, 224 S. W. 3d 870 (Tex. App.        Ft. Worth 2007); Borth v. Charley's

Concrete Co., Inc., 139 S. W. 3d 391 (Tex. App. — Ft. Worth 2004); Star Enterprise v. Marze, 61

S. W. 3d 449 (Tex. App. —San Antonio 2001). Injuries to the familial relationship are significant

and are worthy of compensation because our courts place a high value on human life. Sanchez v.

Schindler, 651 S. W. 2d 249 (Tex. 1983); Borth, 139 S. W. 3d at 396.

14.     On January 27, 2020, Decedent ROBERTO GONZALEZ JR, drove a 2006 Freightliner

owned by Defendant CARLOS SANCHEZ and GERMAN RIOS JR. which was leased to or under

the exclusive control of Defendant JIT TRANSPORT LLC from Laredo, Texas to Topsail Beach,

North Carolina. Decedent ROBERTO GONZALEZ JR.'s Freightliner had a flatbed trailer at-

tached to it which was owned by Defendant ASHIRWAD GROUP LLC. The flatbed trailer had

several long, large metal pipelines stacked on it for transport between Laredo, Texas to Topsail

Beach, North Carolina. The pipelines were to be delivered to a construction site operated by De-

fendant WEEKS MARINE, INC for the town of Topsail Beach's Channel Dredging and Beach

Nourishment Project.

14.     At all times, Decedent ROBERTO GONZALEZ JR. was in the course and scope of his

employment with JIT Transport LLC and C & G Trucking as a commercial motor vehicle driver

employed to transport material or cargo in interstate commerce. As part of his employment, De-

cedent ROBERTO GONZALEZ JR. was not responsible for loading or unloading transported ma-

terials or cargo.

15.     After arriving to the construction site operated by Defendant WEEKS MARINE INC., De-

cedent ROBERTO GONZALEZ JR. safely parked his vehicle at the intersection of Drum Avenue



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& Ocean Boulevard and waited for Defendant WEEKS MARINE INC.'s employees or agents to

unload the dangerous metal pipeline cargo. Defendant RAUL RAMIREZ worked as a flagger for

WEEKS MARINE INC. and was tasked with assisting to unload the dangerous metal pipelines

from the flatbed trailer. In order to accomplish this, Defendant WEEKS MARINE INC. instructed

another employee, Donny McLeod, to operate a 966 Caterpillar front end loader with a forest

machine grapple attachment even though this attachment is not made for the unloading and trans-

portation of 3,000 lb metal pipelines. Defendant RAUL RAMIREZ was assigned the specific job

to ensure the construction site safety of all those around by indicating to Donny McLeod when the

pipeline was "secure" in the forest machine grapple attachment and safe to maneuver down the

road. As Donny McLeod removed the fifth pipe using the 966 Caterpillar front end loader, he

heard Defendant RAUL RAMIREZ yell as the sixth 3,000 lb. metal pipe fell off the flatbed trailer

onto Decedent ROBERT GONZALEZ Jr.'s person which killed him.                      Defendant RAUL

RAMIREZ failed in his duty to ensure the pipeline left on the flatbed trailer was secure before

directing Donny McLeod to maneuver the front end loader down the street and away from the

trailer. At all times Defendant RAUL RAMIREZ was in the course and scope of his employment

with Defendant WEEKS MARINE INC.

16.     Upon information and belief, Defendant ASHIRWAD GROUP LLC loaded the large metal

pipeline in an unsafe, unstable manner and allowed the same to be transported in interstate com-

merce. The flatbed trailer was not equipped with the necessary pipe stakes to ensure that the

pipeline would roll off the flatbed trailer during the unloading process. Further, the distribution of

weight of the pipeline after loading was improper and the height of the load exceeded that allowed

by state and federal rules and regulations.

17.     Upon information and belief, Defendant JTT TRANSPORT LLC and C & G TRUCKING

did not provide any safety equipment, training, or policies as to the transportation, delivery, and



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unloading of the pipeline. Upon information and belief, Defendant JIT TRANSPORT LLC and C

& G TRUCKING loaded the large metal pipeline in an unsafe, unstable manner and allowed the

same to be transported in interstate commerce. The flatbed trailer was not equipped with the nec-

essary pipe stakes to ensure that the pipeline would not roll off the flatbed trailer during the un-

loading process. Further, the distribution of weight of the pipeline after loading was improper and

the height of the load exceeded that allowed by state and federal rules and regulations.

               VI.     NEGLIGENCE AS TO DEFENDANT RAUL RAMIREZ

18.     The occurrence made the basis of this suit and the resulting injuries and damages were

proximately caused by the negligent conduct and activity of Defendant RAUL RAMIREZ in one

or more of the following respects:

        a.      In failing to keep such lookout as a person of ordinary prudence would have kept
                under the same or similar circumstances;

        b.      In failing to ensure the remaining metal pipelines were secure on the flatbed trailer;

        c.      In failing to ensure the front-end loader was safe to maneuver away from the flatbed
                trailer;

        d.      In failing to warn;

        e.      In failing to make sure the front-end loader and all equipment, including were in
                safe condition to operate at the construction site; and

        £       In failing to use the appropriate attachment for the 966 Caterpillar front end loader,

             VII.    NEGLIGENCE AS TO DEFENDANT JIT TRANSPORT LLC

19.     Defendant JIT TRANSPORT LLC hired Decedent ROBERTO GONZALEZ JR. as a com-

mercial motor vehicle driver to transport materials and cargo in interstate commerce. Defendant

JIT TRANSPORT LLC owed a duty to Decedent ROBERTO GONZALEZ JR. to furnish him

safety equipment for the delivery of cargo to construction sites.           Further, Defendant JIT

TRANSPORT LLC owed a duty to train, instruct, and supervise Decedent as to the delivery and

unloading of the metal pipeline. Defendant JIT Transport LLC had a duty to ensure that the flatbed


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trailer was equipped with the necessary pipe stakes so that the pipeline would not roll off the flat-

bed trailer during the unloading process. Further Defendant JIT Transport LLC had a duty ensure

that the distribution of weight of the pipeline after loading was proper and the height of the load

did not exceed that allowed by state and federal rules and regulations.

20.      Defendant JIT TRANSPORT LLC's acts and omissions, as complained of by Plaintiffs

herein, are a proximate cause of Plaintiffs' damages, which are the natural, probable, and foresee-

able consequences of Defendant JIT TRANSPORT LLC's said acts and omissions.

             VIII. DEFENDANT JIT TRANSPORT LLC AS NON-SUBSCRIBER

21.     Defendant JIT TRANSPORT LLC is anon-subscriber to the Workers' Compensation Act,

and in accordance with Tex. Lab. Code ~ 406.033 (a) In an action against an employer who does

not have workers' compensation insurance coverage to recover damages for personal injuries or

death sustained by an employee in the course and scope of the employment, it is not a defense that:

               (1) the employee was guilty of contributory negligence;

               (2) the employee assumed the risk of injury or death; or

               (3) the injury or death was caused by the negligence of a fellow employee.

22.     Plaintiffs are only required to prove one percent (1%) negligence on the part of Defendant

JIT TRANSPORT LLC to recover all related damages against Defendant JIT TRANSPORT LLC.

Plaintiffs will show that all of the foregoing acts of negligence, commission or omission, or both,

separately and collectively, were the proximate causes of the occurrences that form the basis of

this suit.

       IX.    NEGLIGENCE AS TO DEFENDANT GERMAN BIOS JR. & CARLOS
                SANCHEZ COLLECTIVELY DB/A C & G TRUCKING

23.     Defendant GERMAN RIOS JR. & CARLOS SANCHEZ collectively D/B/A C & G

TRUCKING hired Decedent ROBERTO GONZALEZ JR. as a commercial motor vehicle driver




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to transport materials and cargo in interstate commerce. Defendant GERMAN RIOS JR. & CAR-

LOS SANCHEZ collectively D/B/A C & G TRUCKING owed a duty to Decedent ROBERTO

GONZALEZ JR. to furnish him safety equipment for the delivery of cargo to construction sites.

Further, Defendant GERMAN RIGS JR. & CARLOS SANCHEZ collectively D/B/A C & G

TRUCKING owed a duty to train, instruct, and supervise Decedent as to the delivery and unload-

ing of the metal pipeline. Defendant GERMAN BIOS JR. & CARLOS SANCHEZ collectively

D/B/A C & G TRUCKING had a duty to ensure that the flatbed trailer was equipped with the

necessary pipe stakes so that the pipeline would not roll off the flatbed trailer during the unloading

process. Further Defendant GERMAN RIOS JR. & CARLOS SANCHEZ collectively D/B/A C

& G TRUCKING had a duty ensure that the distribution of weight of the pipeline after loading

was proper and the height of the load did not exceed that allowed by state and federal rules and

regulations.

24.     Defendant GERMAN RIOS JR. & CARLOS SANCHEZ collectively DB/A C & G

TRUCKING's acts and omissions, as complained of by Plaintiffs herein, are a proximate cause of

Plaintiffs' damages, which are the natural, probable, and foreseeable consequences of Defendant

GERMAN RIOS JR. & CARLOS SANCHEZ collectively D/B/A C & G TRUCKING's said acts

and omissions.

  X.     DEFENDANT GERMAN RIGS JR. & CARLOS SANCHEZ COLLECTIVELY
                DB/A C & G TRUCKING AS NON-SUBSCRIBER

25.     Defendant C & G TRUCKING is anon-subscriber to the Workers' Compensation Act, and

in accordance with Tex. Lab. Code § 406.033 (a) In an action against an employer who does not

have workers' compensation insurance coverage to recover damages for personal injuries or death

sustained by an employee in the course and scope of the employment, it is not a defense that:

                 (1) the employee was guilty of contributory negligence;

                 (2) the employee assumed the risk of injury or death; or

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                 (3) the injury or death was caused by the negligence of a fellow employee.

26.       Plaintiffs are only required to prove one percent (1%) negligence on the part of Defendant

C & G TRUCKING to recover all related damages against Defendant C & G TRUCKING. Plain-

tiffs will show that all of the foregoing acts of negligence, commission or omission, or both, sep-

arately and collectively, were the proximate causes of the occurrences that form the basis of this

suit.

          XI.    CAUSES OF ACTION AS TO DEFENDANT WEEKS MARINE INC

A.        RESPONDEAT SUPERIOR

27.       Defendant WEEKS MARINE INC is liable to Plaintiffs for the negligent acts of Defend-

ant-Operator RAMIREZ because at the time of the incident described above, Defendant

RAMIREZ was the agent, servant and/or employee of Defendant WEEKS MARINE INC, and was

acting within the scope of his authority as such agent, servant and/or employee. A Defendant

employer will face liability for the negligent torts of its employee if (1) a Plaintiff is injured as the

result of a tort; (2) the tortfeasor was an employee of the Defendant, and (3) the tort was committed

while the employee was acting within the scope of his employment. Baptist Mem'l. Hosp. v.

Sampson, 969 S. W. 2d 945, 947 (Tex. 1998) (elements 1-3). A tort is committed while the em-

ployee is acting within the scope of his or her employment, and he or she was acting (1) within the

employee's general authority, (2) in furtherance of the Defendant's business, and (3) for the ac-

complishment of the object for which the employee was hired. Minyard Food Stores v. Goodman,

80 S.W. 3d 573, 577 (Tex. 2002) (element 3); Mata v. Andrews Transp., 900 S.W. 2d 363, 366

(Tex. App. —Houston [14 th Dist.] 1995, no writ) (element 3).

28.       In the present case, Defendant WEEKS MARINE INC is liable for the tortious acts com-

mitted by Defendant RAMIREZ because Defendant RAMIREZ was an employee who was within




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the course and scope of his employment working for Defendant WEEKS MARINE INC as a flag-

ger. Specifically, on the day in question, Defendant RAMIREZ was acting within the course and

scope of his employment as a flagger and in furtherance of Defendant WEEKS MARINE INC's

business and was acting for the accomplishment of the object for which RAMIREZ was hired by

and/or for Defendant WEEKS MARINE INC.

B.      NEGLIGENT ACTIVITY

29.     Defendant WEEKS MARINE INC was negligent in the unloading of the flatbed trailer.

Defendant WEEKS MARINE INC failed to ensure that all flatbed trailers maintained the appro-

priate pipe stakes to ensure safe unloading of the pipeline. Defendant WEEKS MARINE INC was

negligent by instructing Defendant RAMIREZ to use an improper piece of machinery, namely the

forest machine grapple attachment for the 966 Caterpillar front end loader, to unload the dangerous

pipeline.

C.      NEGLIGENT SUPERVISION, HIRING AND/OR RETENTION

30.     Defendant WEEKS MARINE INC was negligent in the hiring, retention and/or supervision

of Defendant RAMIREZ who was an employee of WEEKS MARINE INC at the time of the events

complained of in this suit.

31.     Specifically, Defendant WEEKS MARINE INC had a duty to hire, supervise and retain

Defendant RAMIREZ as an employee in accordance with all applicable state and federal safety

regulations. Accordingly, Defendant WEEKS MARINE INC breached this duty in the following

ways:

        a.     Hiring Defendant RAMIREZ as an employee when a reasonably prudent operator
               or employer would not have done so;

        b.     Failing to properly supervise Defendant RAMIREZ by ensuring that he complied
               with all applicable federal and state safety regulations;




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         c.     Retaining Defendant RAMIREZ in his capacity as a flagger in violation of appli-
                cable federal and state safety and regulations when a reasonably prudent operator
                or employers would not have.

32.      As a proximate cause of the Defendants' breaches of the above standards of care, Plaintiff

has suffered substantial injury and damages in an amount within the minimum jurisdictional re-

quirements of this Court.

       XII.   NEGLIGENCE AS TO DEFENDANT AS TO ASHIRWAD GROUP LLC

33.      Defendant ASHIRWAD GROUP LLC owned the flatbed trailer involved in the subject

incident. Defendant ASHIRWAD GROUP LLC had a duty to ensure the metal pipeline was load,

secure, and safe for transportation and unloading upon delivery. Defendant ASHIRWAD GROUP

LLC failed in this duty by allowing an unsecure and unsafe load to be transported to North Caro-

lina. Defendant ASHIRWAD GROUP LLC had a duty to ensure that the flatbed trailer was

equipped with the necessary pipe stakes so that the pipeline would not roll off the flatbed trailer

during the unloading process. Further Defendant ASHIRWAD GROUP LLC had a duty ensure

that the distribution of weight of the pipeline after loading was proper and the height of the load

did not exceed that allowed by state and federal rules and regulations.

34.      Defendant ASHIRWAD GROUP LLC's acts and omissions, as complained of by Plaintiffs

herein, are a proximate cause of Plaintiffs' damages, which are the natural, probable, and foresee-

able consequences of Defendant ASHIRWAD GROUP LLC's said acts and omissions

                                       XIII. DAMAGES

A.       Wrongful Death Claim &Damages

3 5.     MA LOURDES GONZALEZ is the surviving daughter of Decedent ROBERTO GONZA-

LEZ JR. As a result of the Defendants' negligence, carelessness and recklessness, MA LOURDES

GONZALEZ has suffered losses by virtue of the destruction of the parent-child relationship, in-

cluding the right to love, nurture and affection, solace, comfort, companionship, care, education,



                                           Page 13 of 19
      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 18 of 78



guidance, society, emotional support and happiness. Plaintiff has suffered in the past and will

likely suffer in the future wrongfizl death damages including mental anguish, loss of consortium,

loss of companionship and society, pecuniary loss, and loss of inheritance.

36.     Further, MA LOURDES GONZALEZ has suffered severe mental depression and anguish;

and substantial grief and sorrow as a result of the death of her father. Moreover, she is likely to

continue to suffer long into the future. Accordingly, MA LOURDES GONZALEZ brings this

wrongful death claim pursuant to Tex. Civ. Prac. &Rem. Code § 71.002 and 71.004 known as the

Texas Wrongful Death statute.

37.     Further, Plaintiff MA LOURDES GONZALEZ further seeks exemplary damages under

Tex. Civ. Prac. &Rem. Code § 41.003.

38.     LESLYLE GONZALEZ is the surviving daughter of Decedent ROBERTO GONZALEZ

JR.    As a result of the Defendants' negligence, carelessness and recklessness, LESLYLE

GONZALEZ has suffered losses by virtue of the destruction of the parent-child relationship, in-

cluding the right to love, nurture and affection, solace, comfort, companionship, care, education,

guidance, society, emotional support and happiness. Plaintiff has suffered in the past and will

likely suffer in the future wrongful death damages including mental anguish, loss of consortium,

loss of companionship and society, pecuniary loss, and loss of inheritance.

39.     Further, LESLYLE GONZALEZ has suffered severe mental depression and anguish; and

substantial grief and sorrow as a result of the death of her father. Moreover, she is likely to con-

tinue to suffer long into the future. Accordingly, LESLYLE GONZALEZ brings this wrongful

death claim pursuant to Tex. Civ. Prac. &Rem. Code § 71.002 and 71.004 known as the Texas

Wrongful Death statute.

40.     Further, Plaintiff LESLYLE GONZALEZ further seeks exemplary damages under Tex.

Civ. Prac. &Rem. Code § 41.003.


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41.        CYNTHIA GONZALEZ is the surviving daughter of Decedent ROBERTO GONZALEZ

JR. As a result of the Defendants' negligence, carelessness and recklessness, CYNTHIA GON-

ZALEZ has suffered losses by virtue of the destruction of the parent-child relationship, including

the right to love, nurture and affection, solace, comfort, companionship, care, education, guidance,

society, emotional support and happiness. Plaintiff has suffered in the past and will likely suffer

in the future wrongful death damages including mental anguish, Ioss of consortium, loss of com-

panionship and society, pecuniary loss, and loss of inheritance.

42.        Further, CYNTHIA GONZALEZ has suffered severe mental depression and anguish; and

substantial grief and sorrow as a result of the death of her father. Moreover, she is likely to con-

tinue to suffer long into the future. Accordingly, CYNTHIA GONZALEZ brings this wrongful

death claim pursuant to Tex. Civ. Prac. &Rem. Code § 71.002 and 71.004 known as the Texas

Wrongful Death statute.

43.        Further, Plaintiff CYNTHIA GONZALEZ further seeks exemplary damages under Tex.

Civ. Prac. &Rem. Code § 41.003.

44.        LAURA GATICA is the surviving spouse of Decedent ROBERTO GONZALEZ JR. As

a result of the Defendants' negligence, carelessness and recklessness, LAURA GATICA has suf-

fered losses by virtue of the destruction of the spousal relationship, including the right to love,

nurture and affection, solace, comfort, companionship, care, education, guidance, society, emo-

tional support and happiness.

45.        Further, LAURA GATICA has suffered severe mental depression and anguish; and sub-

stantial grief and sorrow as a result of the death of her spouse. Moreover, she is likely to continue

to suffer long into the future. Accordingly, LAURA GATICA brings this wrongful death claim

pursuant to Tex. Civ. Prac. &Rem. Code § 71.002 and 71.004 known as the Texas Wrongful Death

statute.


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46.     Further, Plaintiff LAURA GATICA further seeks exemplary damages under Tex. Civ.

Prac. &Rem. Code § 41.003.

47.     LOURDES RODRIGUEZ DE GONZALEZ is the surviving mother of Decedent ROB-

ERTO GONZALEZ JR. As a result of the Defendants' negligence, carelessness and recklessness,

LOURDES RODRIGUEZ DE GONZALEZ has suffered losses by virtue of the destruction of the

parent-child relationship, including the right to love, nurhzre and affection, solace, comfort, com-

panionship, care, education, guidance, society, emotional support and happiness. Plaintiff has suf-

fered in the past and will likely suffer in the future wrongful death damages including mental

anguish and loss of consortium.

48.     Further, LOURDES RODRIGUEZ DE GONZALEZ has suffered severe mental depres-

Sion and anguish; and substantial grief and sorrow as a result of the death of her son. Moreover,

she is likely to continue to suffer long into the future. Accordingly, LOURDES RODRIGUEZ DE

GONZALEZ brings this wrongful death claim pursuant to Tex. Civ. Prac. &Rem. Code § 71.002

and 71.004 known as the Texas Wrongful Death statute.

49.     Further, Plaintiff LOURDES RODRIGUEZ DE GONZALEZ further seeks exemplary

damages under Tex. Civ. Prac. &Rem. Code § 41.003.

50.     ROBERTO GONZALEZ ANCIRA is the surviving father of Decedent ROBERTO GON-

ZALEZ JR. As a result of the Defendants' negligence, carelessness and recklessness, ROBERTO

GONZALEZ ANCIRA has suffered losses by virtue of the destruction of the parent-child relation-

ship, including the right to love, nurture and affection, solace, comfort, companionship, care, edu-

cation, guidance, society, emotional support and happiness. Plaintiff has suffered in the past and

wi111ike1y suffer in the future wrongful death damages including mental anguish and loss of con-

sortium.




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51.        Further, ROBERTO GONZALEZ ANCIRA has suffered severe mental depression and

anguish; and substantial grief and sorrow as a result of the death of his son. Moreover, he is likely

to continue to suffer long into the future. Accordingly, ROBERTO GONZALEZ ANCIRA brings

this wrongful death claim pursuant to Tex. Civ. Prac. &Rem. Code § 71.002 and 71.004 known

as the Texas Wrongful Death statute.

52.        Further, Plaintiff ROBERTO GONZALEZ ANCIRA further seeks exemplary damages un-

der Tex. Civ. Prac. &Rem. Code § 41.003.

B.      Survival Claim &Damages

53.     As a proximate result of the occurrence made basis of this suit, Decedent ROBERTO GON-

ZALEZ JR. died on January 27, 2020, after being subjected to incomprehensible pain and suffer-

ing. Likewise, the Estate of ROBERTO GONZALEZ JR. has paid or incurred liability to pay a

reasonable and customary charge for his funeral and burial and reasonable medical expenses. Ac-

cordingly, Defendant is liable to the Estate of ROBERTO GONZALEZ JR. for damages including

conscious physical pain, pain and mental anguish, medical and funeral expenses, and knowledge

of impending death within the jurisdictional limits of this Court.              Plaintiff ROBERTO

GONZALEZ ANCIRA brings this suit on behalf of the Estate of ROBERTO GONZALEZ JR

pursuant to Texas Civil Practice and Remedies Code Section 71.021 known as the Texas Survival

Statute.

54.     Further, Plaintiff ROBERTO GONZALEZ ANCIRA brings this suit on behalf of the Estate

of J. R. further seeks exemplary damages under Tex. Civ. Prac. &Rem. Code § 41.003.

                                       XIV. JURY DEMAND

55.     Plaintiff demand a jury trial and have tendered the appropriate fee with the original petition.

                            XV.     REQUEST FOR DISCLOSURES




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56.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiffs requests that De-

fendants disclose within fifty (50) days after service of this Petition the information or material

described in Rule 194.2 as set forth therein.

                   XVI. ADDITIONAL DISCOVERY FILED WITH PETITION

57.     In accordance with the Texas Rules of Civil Procedure, Plaintiff LOURDES RODRIGUEZ

DE GONZALEZ is serving the following discovery upon Defendants in conjunction with Plain-

tiffs' Original Petition. Defendants have fifty (50) days from the date of service to fully answer

and/or respond to the attached:

        Exhibit A:      Plaintiff LOURDES RODRIGUEZ DE GONZALEZ's First Set of
                        Interrogatories to all Defendants; and

        Exhibit B:      Plaintiff LOURDES RODRIGUEZ DE GONZALEZ`s First Request for
                        Production to all Defendants.

                            XVII. JOINT AND SEVERAL LIABILITY

58.     The Defendants named herein are each jointly and severally liable to Plaintiffs for their

damages sustained as a result of the acts and omissions complained of in this suit.

                                         XVIII. PRAYER

59.     WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that Defendants

be cited to appear and answer herein, and that upon trial of this cause, Plaintiffs have judgment of,

from, and against Defendants, jointly and severally, for actual damages, to be determined by a fair

and impartial jury that has fully weighed the evidence and facts and delivered its verdict in accord-

ance with the Court's instructions, together with costs of suit, pre-judgment interest, post judgment

interest, attorney fees, and for such other and further relief to which Plaintiff may show themselves

justly entitled.

                                                Respectfully submitted,

                                                SADOVSKY & ELLIS, PLLC


                                           Page 18 of 19
Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 23 of 78



                               8620 N. New Braunfels Ave. Suite 110
                               San Antonio, Texas 78217
                               Telephone: (210) 832-9090
                               Facsimile: (210) 802-4131


                               By: /s/Jon B. Ellis
                               Jon B. Ellis
                               State Bar No. 24080878
                               Email: jon@sadovskyellis.com

                               r.~

                               THE ARMSTRONG FIRM, PLLC
                               Ron W. Armstrong II
                               State Bar No. 24059394
                               310 S. St. Mary's St. Ste 2700
                               San Antonio, Texas 78205
                               Telephone: (210) 277-0542
                               Facsimile: (210) 277-0548
                               Email: rwaii@tafpllc.com

                               ATTORNEYS FOR PLAINTIFFS
                               MA LOURDES GONZALEZ
                               LOURDES RODRIGUEZ DE GONZALEZ &
                               ROBERTO GONZALEZ ANCIRA

                               THE CARLSON LAW FIRM
                               6243 I-10 #205
                               San Antonio, Texas 78201
                               Telephone: (210) 696-8600
                               Facsimile: (210) 802-4131


                              By: /s/Brantley W. White
                              State Bar No. 00789722
                              Email: bwhite@whiteandcarlson.com
                              Steve S. Dummitt
                              State Bar No. 24082936
                              Email: sdummit@carlsonattorneys.com
                              Cynthia N. De Santiago
                              State Bar No. 24090997
                              cdesantiago@carlsonattorneys. com

                              ATTORNEYS FOR PLAINTIFFS
                              LESLYLE GONZALEZ
                              CYNTHIA GONZALEZ &
                              LAURA GATICA

                            Page 19 of 19
                         Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 24 of 78




                                                           HONORABLE BECKIE PALOMO
                                                                State District Court Judge
                                                               341st JUDICIAL DISTRICT OF TEXAS
                                                                WEBB COUNTY JUSTICE CENTER
                                                                   1110 Victoria Street, Suite 302
                                                                      Laredo, Texas 78040-4439


                                                 CIVIL CASE -- CALENDAR CALL SETTINGS

                                                            RE: CAUSE NO;        2020CVF000220D3

                                          STYLE: MA LOURDES GON7ALEZ INDIVIiIALLY, LOURDES RODRIGLIEZ DE
                             GONZALEZ INDIVILIDALI.Y LESLYLE GONZALEZ INDTVIDUt1LLY CYNTHIA GONZALEZ
                      INDIVIDUALLY LAURA GATICA [INDIVIDUALLY ROBERTO GONZALEZ ANCIRA INDIVIDCIALLY & AS
                                        REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.
                                                                VS
                         TIT TRANSPORT LLC., ASHIRWAD GROUP LLCM GERMAN RIOS JR, INDIVIDi.IALLY & CARLOS
                        SANCHEZ INDIVIDUALLY & D/B/A C & G TRUCKING RAUL RAMIREZ &WEEKS MARINE INC

                     NOTICE that this case is SET FUR CALENDAR CALL on 04/ 1 S/2020 at ] :30 PM at the 341st District
                     Courtroom, 3'~ Floor, Webb County Justice Center.

                     Calendar Call hearings will be in open Court and on the record before,~LIDGE BECKIE PALOMO.
                     Your presence is MANDATORY unless Counsel For Plaintiffs) file a Joint Pre-Trial Guideline Order
                     (PTGO) with all counsels signatures on the PTGO.

                     You may download the PTGO aY our website:
                     http: / /www.webbcountytac.gov% AC341st/Links / civ,Jury%20PTGO.pdf

                     Counsel for Plaintiff(sl: if you do not appear for calendar call, your case may be dismissed for lack of prosecution.

                     Counsel for Defendantlsl; if you do not appear for calendar call, apre-trial guideline order may be
                     entered with or without your approval and/or signature.

                     Call the court for jury selection dates and pre-trial hearing dates. Keep in mind jury selection must be set
                     within the timeframes recommended by die Texas Supreme Court.

                     If there are any questions regarding this matter please feel free Yo call the court at the number below.




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    _, ~~ ••'               , ~; '~~                          ESrHEa DEGOLLApO                                 suit court coordinata-
   ~~'~ °                      ' ~`~~                  Clerk of the District Courts and                          Tel; (956) 523-Wi83
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Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 25 of 78


      ~~ Transmit Confirmation
                               Report ~~
 P.1                                                                                                        Feb 4 2020 04:18pm
 WEBB CO DISTRICT CLERK Fax:956-523-5121
       Name/Fax Nn,                                   Mode              Start                Time Page Result                     Note
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                                              HONORABLE BECKIE PALOMO
                                                State District Court Judge
                                                  3416 JLTDTCIAT. DISTRICT OF TEXAS
                                                   WEBB COti\'I'Y JUSTICE CENTER
                                                      1110 Vicmria Street, Suite 302
                                                        Laredo, Texas 78040.4439


                                    CIVIL CASE —CALENDAR CALL SETY'iNGS

                                                RE: CAUSE NO:        2Q2gCVF-000220D3

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                            ~PAESEN'i'AT7VF OF ESTATE OF ROBERTO G01~7ALEZ IR
                                                     VS
            J17 TRA~ISPOR7 LLC ASHiRWAD GROUP T LC GER~v1~N RiOS JR INDIVIDUALLY 3; CARLOS
            SAYCHE7 I~lI7tVIDUALLY & D/B/A C & G TRUCKING RALit RAM[REZ 8 WEEKS ti4ARf~lE 1TVC

        NOTICE that this ~asc is SEI' FOA CAT.ENDAR CALL on ~/ 1 S /2020 pt 1:30 PM at :hc 34 i st llistrict
        Coar~oom, 3"' F!nor, 1Neb1> County Jvsvcc Centcr.

        Calendar Cali hearings will be in open Cnurt and on the record before JUDGE BECKJE PALOi~lO.
        Your pr,;scncc is MAr1TD.4TORY unless Counsel for PlaintilF(s) Glc a joint Arc•Tria! Gufdclinc O~dcr
        (PTGO) with all counsels signatures on the PTGO.

        You may' download the PTGO a! our ~vebsice:
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        Coanse! for Plain•ijf(s): i! you Jo not appcaz for calendar tall, your msc may be dismivsed for lack of prosecution.

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        crtcred wi;l~ or without your approval and/or signature.

        Call the c~~urt torjur~• selection dates and pre-trial hcarinp dates. Kccp in mind jury selection mux; be xct
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        Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 26 of 78


                                                                                                SERVE
                                                                                       2020CVF000220D3
                                                       CITATION
       PLAINTIFFS ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURAES RODRIGUEZ DE
      GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
                  GONZALEZ`S FIRST REQUEST FOR PRODUCTION' TO DEFENDANTS

     TxE STATE of T~xAs                                          CALENDAR CALL HEARING SET FOR
     CovrrxY of wEss                                                 04/15/2020 AT 1:30PM
     NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
     ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
     THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
     FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
     CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

     TO:       JIT TRANSPORT LLC
               BY SERVING ITS REGISTERED AGENT SHETUL B. MUCHHALA
               101 WEST DEL MAR SUITE 5E
               T.ARFDO TX 78041

    DEFENDANT, IN THE HEREINAFTER STYLED AND NUMF3ERED CAUSE, YOU ARF
    HEREBY COI~IADTDED TO APPEAR BEFORE THE 341st District Court of Webb
    County, Texas, to be held at the said courthouse of said county in the
    city of Laredo, Webb County, Texas, by filing a written answer to the
    Petition of Plaintiff at or before 10:00 O'CLOCK A.M, of the Monday
    next after the expiration of 20 days after the date of service
    thereof, a copy of which accompanies this citation, .in the Cause #:
    2020CVF000220D3, styled:
         MA I.~OURDES GONZALEZ INDIVIUALLX, LOURDES RODRIGUEZ DE GONZALEZ
          INDIVIUDALI,Y, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
         INDIVIDUALLY, LAURA GATICA INDIVIDUALLX ROBERTO GONZAI~EZ ANCIRA
       INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                     PLAINTIFFS
                                        VS.
      JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
      & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, ~RAUL RAMIREZ,
                          & WEEKS MARINE, INC., DEFENDANTS
    Said Plaintiff's Petition was filed on 01/3]./2020 in said court by:
               JQN B. ELLIS, ATTORNEY FOR PLAINTIFF
               8620 N. NEW BRAUNFELS AVE. SUITE 110
               SAN ANTONIO TX 78217

    WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB. COUNTY, TEXAS, Issued
    and given under my hand and seal of said court at office, on this the
    5th day of February, 2020.
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     '~ ••    ~ '•      C'                                      ESTHER DEGOLLADO
 ~e:'~                  ~~GZ                                    WEB$ COUNTX DISTRICT CLARK
C.~:                       ~.~                                  P.O. BOX 667
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              Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 27 of 78



                                                                                         2020CVF000220D3
                                                      OFFICER'S RETURN

                      Came to hand on the  day of                      2020 at
                                  O'CLOCK       .M.         Executed        at
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        at                0' CZ,OCK       . M.   on   the              day  of
                           2020, by delivering to the within named JIT
        TRANSPORT  LLC  BY    SERVING   ITS    REGISTERED   AGENT   SHETUL B.
        NNCHHALA, each, in person, a true copy of this citation together
        with  the  accompanying     copy of the      petition,   having first
        attached such copy of such petition to such copy of citation and
        endorsed on such copy of citation the date of delivery.

        The           distance           actually travelled by me in serving                 such   process
        was                              miles, and my fees are as follows:

        Total Fee for serving this citation                               $

        To certify which, witness my hand officially.


                                                                     SHERIFF, CONSTABLE

                                                                                        COUNTY, TEXAS

                                                              m
                                                                                                DEPUTY

        THE STATE OF TEXAS }
        COUNTY OF WEBB     }

        Before me, the undersigned authority, on this day personally
        appeared                                 who after being duly
        sworn, upon oath said that a notice, of which the above is a
        true copy, was by him/her delivered ~o
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        SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
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       Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 28 of 78


                                                                                      RETURN
                                                                              2020CVF000220D3
                                             CITATION
       PI,ATNTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
       GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
                   GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

   ~xE STATE of TEXAS                                   CALENDAR CALL HEARING SET FOR
   covrtxr of taESB                                         04/15/2020 AT 1:30PM
   NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
   ATTORNEY.  IF XOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
   THE CLERK WHO ISSUED THIS CITATION SY 10:00 A.M. ON THE MONDAY NEXT
   FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WARE SERVED THIS
   CITATION AND PETITION, A DEFAULT JUDGMENT MAX BE TAKEN AGAINST YOU."

   TO:     JIT TRANSPORT LLC
           BY SERVING ITS REGISTERED AGENT SHETUL B. MUCHHALA
           101 WEST DEL MAR SUITE 5E
           T,ARFDO TX 78041

   AEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
   HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court of Webb
   County, Texas, to be held at the said courthouse of said county in the
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   next after the expiration of 20 days after the date of service
   thereof, a copy of which accompanies this' citation, in the Cause #:
   2020CVF000220D3, styled:
        MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
        INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
       INDIVIAUALLY, LAURA GATTCA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
     INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                   PLAINTIFFS
                                      VS.
    JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIOS JR. INDIVIDUALLY,
    & CA.RLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                        & WEEKS MARINE, INC., DEE`ENDANTS
   Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
         JON B. ELLIS, ATTORNEY FOR PLAINTIFF
         8620 N. NEW BRAUNFELS AVE. SUITE 110
         SAN ANTONIO TX 78217

  WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
  and given under my hand and seal of said court at office, on this the
  5th day of February, 2020.
                       C   L   E   R    K      0   F      C   O   U   R   T
  ~ °F W~Be.cOG                                        ESTHER DEGOLLADO
 O~.            ;2~                                    WEBB COUNTY DISTRICT CLERK
U.              :~                                     P.O. BOX 667
~—                                                     LARED   T  78042
U ~'            "~
                                       BY:                                       DEPUTX
                                              Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 29 of 78



                                                        2020CVF000220D3
                            OFFICER'S RETURN

      Came to hand on the        day o~                      2020 at
                  O'CLOCK            .M.         executed         at
                              within the COUNTY of
at                O'CLOCK       .M.   on   the              day   of
                   2020, by delivering to the within named JIT
TRANSPORT  LLC  BY   SERVING  ITS   REGISTERED   AGENT   SHETUL   B.
MUCHHALA, each, in person, a true copy of this citation together
with  the  accompanying   copy of the     petition,   having first
attached such copy of such petition to such copy of citation and
endorsed on such copy of citation the date of delivery.

The   distance   actually travelled by me in serving       such   process
was              miles, and my fees are as follows:

Total Fee for serving this citation        $

To certify which, witness my hand officially,


                                       SHERIFF, CONSTA$LE

                                                       COUNTY, TEXAS

                                 m
                                                              DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                                , who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was-'by him/her delivered to
                                               on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.




                                                         NOTARY PUBLIC
                                                 MX COMMISSION EXPIRES
     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 30 of 78


                                                                                   SERVE
                                                                          2020CVF000220D3
                                     CITATION
  PLAINTIE'ES` ORIGINAL PETITIOII, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
  GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
              GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

 THE STATE   o~ ~ExAs                                CALENDAR CALL HEARING SET FOR
 COUNTY   of wESB                                        04/15/2Q20 AT 1:30PM
 NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOX AN
 ATTORNEY.   IF YOU OR YOUR ATTORNEX DO NOT FILE A WRITTEN ANSWER WITH
 THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
 FOLLOWING THE EXPIR~ITION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
 CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

 TO:     ASHIRWAD GROUP LLC
         BY SERVING ITS REGISTERED AGENT SHETUL B. MUCHHALA
         101 WEST DEL MAR SUITE 5E
         T.ARRDO TX 78041

 DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
 HEREBY CONII~IANDED TO APPEAR BEFORE THE 341st District Court of Webb
 County, Texas, to be held at the said courthouse of said county in the
 city of Laredo, Webb County, Texas, by filing a written answer to the
 Petition of Plaintiff at or before 10:00 O'CLOCK A.M. of the Monday
 next after the expiration of 20 days after the date of service
 thereof, a copy of which accompanies this citation, in the Cause #:
 2020CVF000220D3, styled: -
     MA. LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
      INDIVIUDALLY, LESLXLE GONZALEZ INDxVIDUALLY, CYNTHIA GONZALEZ
     INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
   INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZAI,EZ JR.,
                                  PLAINTIFFS
                                      VS.
  JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERM~IN RIOS JR. INDIVIDUALLY,
  & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL FtAMIREZ,
                       & WEEKS MARINE, INC., DEFENDANTS
 Said Plaintiff's   Petition  was filed on 01/31/2020 in said court by:
       JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS AVE. SUITE 110
       SAN ANTONIO TX 78217

 WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
 and given under my hand and seal of said court at office, on this the
 5th day of February, 2020.
                     C   L   E   R    K    O   F      C   O   U   R   T

                                                   ESTHER DEGOLLADO
J~     ~ Wee CO
J•            :~                                   WEBS COUNTY DISTRICT CLERK
                                                   P.O. BOX 667
               :~                                  LARED  ~    8042

                                     BY:
~,'o'
J~'   ..... '~~
              sd'"
              '
                                           Serenidad Diaz
                                                                             DEPUTY
       Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 31 of 78
.,



                                                                                      2020CVF000220D3
                                                      OFFICER'S RETURN

                                      day of
                     Came to hand on the                       2020 at
                                 O'CLOCK  .M.        Executed       at
                                    within the COUNTY of
     at                 O'GLOCK      .M.   on   the           day   of
                          2020, by delivering to the within named
     ASHIRWAD GROUP LLC BY SERVING ITS REGISTERED AGENT SHETUL B.
     NNCHHALA., each, in person, a true copy of this citation together
     with the accompanying copy of the petition, having first
     attached such copy of such petition to such copy of citation and
     endorsed on such copy of citation the date of delivery.

     The           distance             actually travelled by me in serving such                process
     was                                miles, and my fees are as follows:

     Total Fee for serving this citation                               $

     To certify which, witness my hand officially.


                                                                  SHERIFF, CONSTABLE

                                                                                    COUNTY, TEXAS

                                                           ~:~i
                                                                                            DEPUTY

     THE STATE OF TEXAS }
     COUNTY OF WEBB     }

     Before me, the undersigned authority, on this day personally
     appeared                                 who after being duly
     sworn, upon oath said that a notice, of which the above is a
     true copy, was by him/her delivered to
                                                   an the
                  day of

     SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                                to certify which witness my hand and
     seal of office.
      ,,~~,              ~, i,,.
       ``~ °,. ....° . ~.n ~'~.                  Tr  copy of the~~i~inal.~ I certi.~~ ~
                   ,~.~                    the      1 day                    ~-
          ~~" f                   ~ ~                                                       NOTARY PUBLIC
                                                   ESTHER L~EGOLLADO
     -    ~;,`~     ""-~
                     _        e ,~
                                 _ "-           Clerk of the District Courts and     MY COMMISSION EXPIRES
                ~~$                ``      County Cou \~    aw Webb County. Texas
                             ,~
       ~~       ;~~        ~~~
             ~' ~~~111I I I 1111~~~~~
     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 32 of 78


                                                                                           RETURN
                                                                                   2020CVF000220D3
                                    CITATION
   PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE S LOURDES RODRIGUEZ DE
   GONZALEZ`S FIRST SET OF INTERROGATORIES -TO DEFENDANTS & LOURDES RODRIGUEZ D~
              GONZALEZ`S FIRST REQUEST FOR PF20DUCTION TO DEE'ENDANTS

  THE STATE of TExP,s                                       CALENDAR CALL HEARING SET FOR
  couNTY of raEss                                                 04/15/2020 AT 1.:30PM
  NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
  ATTORNEY,   IF YOU OR YOUR ATTORNEX DO NOT FILE A WRITTEN ANSWER WITH
  THE CLERK WHO TSSUED THIS CITATION BY 10:00 A.M, ON THE MONDAY NEXT
  FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
  CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

  TO:        ASHIRWAD-GROUP LLC
             BY SERVING ITS REGISTERED AGENT SHETUL B. MUCHHALA
             101 WEST DEL MAR SUITE 5E
             LAREDO TX 78041

  DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
  HEREBY COI~Il+~lANDED TO APPEAR BEFORE THE 341st District Court of Webb
  County, Texas, to be held at the said courthouse o~ saa.d county in the
  city of Laredo, Webb County, Texas, by fila.ng a written answer to the
  Petition of Plaintiff at or before 1Q:00 O'CLOCK A.M. of the Monday
  next after the expiration of 20 days after the date of service
  thereof, a copy of which accompanies this citation, in the Cause #:
  2020CVF000220D3, styled:
      MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
       INDIVIUDALLY, LESLYLE_GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
      INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
    INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                    PLAINTIFFS
                                       VS.
   JIT TRANSPORT LLC., ASFi2RWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
   & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & C TRUCKING, RAUL RAMIREZ,
                         & WEEKS MARINE, INC., DEFENDANTS
  Said Plaintiff's Petition was filed on 01/32/2020 in said court by:
        JON B. ELLIS, ATTORNEY FOR PLAINTIFF
       8620 N. NEW BRAUNFELS AVE. SUITE 110
        SAN ANTONIO TX 78217

  WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
  and given under my hand and seal of said court at office, on this the
  5th day of February, 2020.
    .. _ .           ,_      C   L   E   R    K    O   F      C   O'   U   R   T

      Q;r''~~~~~~ ~~~'~C~                                  ESTHER DEGOLLADO
  ~'
 U:                    ':G                                 WEBB COUNTX DISTRICT CLERK
I~--.                   ;~                                 P.O. BOX 667
                        =~                                 LAREDO, TX 78042
 cL',                  .~y                                         ~
  ~~~'       .... ;~.~i~"                    BY:                                      DEPUTY
                                                   Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 33 of 78



                                                        2020CVF000220D3
                            OFFICER'S RETURN

      Came to hand on the        day of                   2020 at
                  O'CLOCK            .M.       Executed        at
                              within the COUNTY of
at                O'CLOCK       .M.   on  the            day   of
                    2020, by delivering to the within named
ASHIRWAD GROUP LLC BY SERVING ITS REGISTERED AGENT SHETUL B.
MUCHHALA, each, in person, a true copy of this citation together
with the accompanying copy o~ the petition, having first
attached such copy of such petition to such copy of citation and
endorsed on such copy of citation the date of delivery.

The   distance actually travelled by me in serving such          process
was            miles, and my fees are as follows:

Total Fee for serving this citation        $

To certify which, witness my hand officially.


                                       SHERIFF, CONSTABLE

                                                       COUNTY, TEXAS


                                                              DEPUTY

THE STATE OF TEXAS }
COUNTX OF WEBB     }

Before me, the undersigned authority, on this day personally
appeaxed                                 who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.



                                                         NOTARY PUBLIC
                                                 MY COMMISSION EXPIRES
  Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 34 of 78


                                                                                      SERVE
                                                                             2020CVF000220D3
                                  CITATION
 PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
 GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
            GONZALEZ`S FIRST REQUEST FOR PI20DUCTION TO DEFENDANTS

THE STATE       of TEXAS                                CALENDAR CALL HEARING SET FOR
COUNTY       of wESB                                        04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST XOU."

TO:       GERMAN RIGS JR
                                         OR WHEREVER HE MAY $E FOUND
          1717 B CORTEZ
                                             VIA PRIVATE PROCESS.
          LAREDO TX 78043

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
HEREBY CONII~IANDED TO APPEAR BEFORE THE 341st District Court of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition of Plaintiff at or before 10:00 O'CLOCK A.M. of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2020CVF000220D3, styled:
     MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
     INDIVIUDAI~LY,.LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                PLAINTIFFS
                                   VS.
 JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIOS JR. INDIVIDUALLY',
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                     & WEEKS MARINE, INC., DEFENDANTS
Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB CO[JNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February, 2020.

      ~..,m~.,,,__      C   L   E   R    K    O   F      C   O   U   R   T

  ~ ~~'W~B~                                           ESTHER DEGOLLADO
          '':rp                                       WEBB COUNTY DISTRICT CLERK
              ~' G
             :2                                       P.O. BOX 667
                ~~                                    LARED , ~T   8042

                                                                                DEPUTY
  ~`--....•• ''~~}may                   BY.   Serenidad Diaz
            Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 35 of 78



                                                                                     2020CVF000220D3
                                                  OFFICER'S RETURN

            -           Came ~.o hand an the
                                       day of                   2020 at
                                     O'CLOCK
                                           .M.       Executed        at
                                    within the COUNTY of
      at                O'CLOCK       .M.   on  the            day   of
                         2020, by delivering to the within named GERMAN
      Rlos JR, each, in person, a true copy of this citation together
      with the accompanying copy of the petition, having first
      attached such copy of such petition to such copy of citation and
      endorsed on such copy of citation the date of delivery.

      The distance actually travelled by me zn serving such process
      was          miles, and my fees are as follows:

      Total Fee for serving this citation                                  $

      To certify which, witness my hand officially.


                                                                  SHERTFF, CONSTABLE

                                                                                    COUNTY, TEXAS

                                                          BY
                                                                                           DEPUTY

      THE STATE OF TEXAS }
      COUNTY OF WEBB     }

      Before me, the undersigned authority, on this day personally
      appeared                                 who after being duly
      sworn, upon oath said that a notice, of which the above is a
      true copy, was by him/her delivered to
                                                    on the
                   day of                            ,

      SWORN TO AND SUBSCRIBED BEFORE ME on the                                    day of
                                                      to certify which witness my hand and
      seal of office.



                      ;'~,          Tr copy of the r~gmal.                             NOTARY PUBLIC
                              the ~ day of~`I 20                       ~
                        _.             ESTHER DEGOLLADO                        MY COMMISSION EXPIRES
                       qc =         Clerk of the D~stnct Courts ,and
                ''             County Cou         w Webb Count .Texas
                                  gy:            ~a   ~~i~~       ePu~Y
                        .:
f-   .. ,
                     ;;:
         Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 36 of 78


                                                                                                   RETURN
                                                                                           2020CVF000220D3
                                                        CITATION
     PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
     GONZALEZ'S FIRST SET OF INTERROGATORIES TO DEFENDANTS 6 LOURDES RODRIGUEZ DE
                 GONZALEZ`S FIRST REQUEST FOR PRODL7CTION TO DEFENDANTS

   xxE     STATE     of TEXAS                                     CALENDAR CALL HEARING SET FOR
   COUNTY         of w~BB                                             04/15/2020 AT 1:30PM
   NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
   ATTORNEY.   IF YOU OR XOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
   THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
   FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
   CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST XOU."

   TO:        GERMAN RIGS JR
                                                   OR WHEREVER HE MAY BE FOUND
              1717 B CORTEZ
                                                      VIA PRIVATE PROCESS.
              T.ARFDO TX 78043

  DEFENDANT, IN THE HEREINAFTER STYLED AND NLJMBER~D CAUSE, YOU                                        ~1l2E
  HEREBY CONIl~lANDED TO APPEAR BEFORE THE 341st District Court of   Webb
   County, Texas, to be held at the said courthouse of said county in the
   city of Laredo, Webb County, Texas, by filing a written answer to the
   Petition of Plaintiff at or before 10:00 O'CLOCK A.M. of the Monday
   next after the expiration of 20 days after the date of service
   thereof, a copy of which accompanies this citata.on, in the Cause #:
   2020CVF000220D3, styled:
       MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
        INDIVIUDALI,Y, LESLYLE GONZALEZ INDIVIDUALLY, CYNTfiIA GONZALE2
       INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
     INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF RO$ERTO GONZALEZ JR.,
                                   PLAINTIFFS
                                      VS.
    JIT TRANSPORT LLC., ASHIRWAD GROUP I,LC, GERMAN RIOS JR. INDIVIDUALLY,
    & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                        & WEEKS MARINE, INC., DEFENDANTS
   Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
         JON $_. ELLIS, ATTORNEY FOR PLAINTIFF
        8620 N. NEW BRAUNFELS AVE. SUITE 110
         SAN ANTONIO TX 78217

  WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBS COUNTY, TEXAS, Issued
  and given under my hand and seal of said court at office, on this the
  5th day of February, 2020.
           .,,,,„,,,,__           C   L   E   R    K     O   F      C     O    U   R   T

 OJ~'\.,:::••••~•:66'CO                                          ESTHER DEGOLLADO
                                                                 WEBB COUNTY DISTRICT CLERK
 V~
~,-- r                     ~'iG
                              Z                                  P.O. BOX 667
V;                          ~                                    LAREDO       ~X 7 042

~~~                       ;~~
                            y                     BY:                                         DEPUTY
    O''••..,,,,,,,,•'~a                                  Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 37 of 78



                                                        2020CVF000220D3
                           OFFICER'S RETURN

     Came to hand on the           day of                   2020 at
                 O'CLOCK               .M.       Executed        at
                                within the COUNTY of
at                  O'CLOCK       .M.   on  the            day   of
                     2020, by delivering ~o the within named GERMAN
Rlos fit, each, in person, a true copy of this citation together
with the accompanying copy of ~h~ petition, having first
attached such copy of such petition t4 such copy of citation and
endorsed on such copy of citation the date of delivery.

The distance actually travelled by me in serving such process
was          miles, and my fees are as follows;

Total Fee for serving this citation         $

To certify which, witness my hand officially.


                                       SHERIFF, CONSTABLE

                                                       COUNTY, TEXAS

                                 I~1
                                                              DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                                 who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.




                                                         NOTARY PUBLIC
                                                 MY COMMISSION EXPIRES
   Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 38 of 78


                                                                                      SERVE
                                                                             2020CVF000220D3
                                   CITATION
 PLAINTIFFS` ORIGINAL, PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
 GONZALEZ`S FIRST SET OF INTER3.20GATORIE3 TO DEFENDANTS 6 LOURDES RODRIGUEZ DE
            GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEE'ENDANTS

THE STATE        of TEXAS                               CALENDAR CALL HEARING SET FOR
COUNTY        of w~ss                                       04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY.   IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M, pN THE MONDAY NEXT
FOS,LOWING THE EXPIRAT20N OF TWENTY DAYS AFTER, YOU WERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:      CARLOS SANCHEZ
                                           OR WHEREVER HE MAY BE FOUND
         4019 SANTA CLEOTILDE
                                              VIA PRIVATE PROCESS.
         i~AREDO TX 78041

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU AR.E
HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court .of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by tiling a written answer to the
Petition of Plaintiff a~ or before 10:00 O'CLOCK A.M. of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies phis citation, in the Cause #:
2020CVF000220D3, styled:                                      '
     MA LOURDES GONZALEZ TNDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
      INDIVIUDALLY, LESLYLE GONZALE2 INDIVIDUALLY, CYNTHIA GONZALEZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONSALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                 PLAINTIFFS
                                     VS.
 JIT  TRANSPQRT  LLC., ASfiIRWAD GROUP LLC, GERMAN RIOS JR. INDIVIDUALLY,
 & C3~RLOS  SANCHEZ INDIVIDUALLY,  & D/B/A C & G TRUCKING, RAUL'RAMIREZ,
                      & WEEKS MARINE, INC., DEFENDANTS
Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
       JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS A~,7E. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February,' 2020.
                          C   Z   E   R    K    O   F    C   O   U   R   T

    ~Y yPf=~$                                         RSTHER DEGOZI,ADO
 J~~:' ~    'COG                                      WEBB COUNTY DISTRICT CLERK
O~            ~-:Z~                                   P . 0 . BOX 667
~                 -<                                  LARE 0, T     7042
V '.               :~~1                                            ~
C~'•.              ,~                     BY:                             DEPUTY
 ~~'%i••.._    _. 'S
                   a                            Serenidad Diaz
     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 39 of 78
T




                                                                       2020CVF000220D3
                                     OFFICER'S RETURN

          Came to hand on the          day of                     2020 at
                      O'CLOCK              .M.        Executed         at
                                    within the COUNTY of
    at           ~     O'CLOCK'       .M.   on  the              day   of
                        2020', by delivering to the within named CAEtLOs
    S~CHE.Z, each, in person, a true ..copy of this citation together
    with  the   accompanying   copy of the     petition,   having first
    attached such copy of such petition to such copy of citation and
    endorsed on such copy of citation the date of delivery.

    The   distance   actually travelled by me in serving                 such   process
    was              miles, and my fees are as follows:

    Total Fee for serving this citation                   $

    To certify which, witness my hand officially.


                                                    SHERIFF, CONSTABLE

                                                                      COUNTY, TEXAS

                                             BY
                                                                            DEPUTY

    THE STPaTE OF TEXAS }
    COUNTY OF WEBB      }

    Before me, the undersigned authority, on this day personally
    appeared                                 who after being duly
    sworn, upon oath said that a notice, of which the _above is a
    true copy, was by him/her delivered to
                                                  on the
                 day of

    SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                               to certify which witness my hand and
    seal of office.



                         A True copy of the n                           NOTARY PUBLIC
             ':      the~~1_day of/~                  . 20 ~~~
                                                                 MY COMMISSION EXPIRES
                              ESTHER DEGOLLADO
                           Clerk of the District Cotes ar~d
                      County C     at Law Webb"County, Texas
                        By            ~-~ - ,~.----= pePuty

                          '~__.-
  Case 5:20-cv-00037 Document 2 Filed
                                 t-
                                      on
                                      , ' 03/09/20
                                                ;. in TXSD Page 40 of 78
                                                 >.rw~
                                           ,,,                  . . .,

                                                                                                  ~ETIIRN
                                                                                          2020CVF0002~OD3
                                      CIZ'A,TICJN
 PLI~Ir7TIFF.3` ORIGINAL, PETITION, REQUEST FOR DISCLOSURE', LOURDES ROARIGUEZ DE
 GONLALEZ`S„•FIRST. SET'OF.TNTERR~GATORIES TO DEFENDANTS & LOUF.DES RODRIGUEZ DE
               GONZALEZ`S FIRST REQTJEST FOR PRODUCTION TO L~EFENUANTS

THE STATE of TExP,s                                           CALENDAR CALL HEARING SET FOR
COUNTY of F~sB.                                                   04/15/2020 Al' 1:30PM
NOTICE TO T8E DEFENDANT: ."YOU HAVE BEEN Si7ED. YOU MAY EMPLOY AN
ATTORNEY.   IF .YOU..OR YOUR ATTORNEY DO NOT, FILE A WRITTEN .ANSWER GJITH
THE. CLERK WHO ISSUED THIS CITATION BY 10:00 A.N. ON THE MONDAX NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU tn'ERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:      CARLOS SANCHEZ
                                          OR WHEREVER HE MAY BE FOUND
         4019 SANTA CLEOTILDE
                                              VIA PRIVATE PROCESS.
         L~,P,EDO TX 78041

DEFENDANT, IN THE fIEREINAFTER STYLED AIvD NUMBERED CAUSE,. YOU 11RE
HEREBY CO~iANDED TO APPEAR BEFORE THE 341St Di.~triCt Court of Webb
County ;. Texas, ~o be held at the said courthouse o~ said county in the
city of Laredo, Webb County, Texas, by filing a written answer'to the
Petition of Plaintiff at or before 10:'00 O'CLOCK A.M'. of the Monday
next 'after_   tY e . 'expi~ratiori of 20 days ~ after the date of service
tr~eregt'., a copy `of which' accompanies this citation, in the Cause #:
2020CVF000220D3, styled:                      ~         ~          ~.
      MA LOURDES GONZALEZ INDIVTUALLY, LOURDES RODRIGUFZ DE GONZALEZ
       INDIVIUDALI~Y, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
     INDIVIDUALLY, LAURA GATICA 22~DIVIDUALLI' ROBERTO GONZALEZ ANCIRA
   7:NDIVIDUAI.LY.& AS.REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ~JR.,
                                     PLAINTIFFS
                                        VS.
  JIT.TRANSPORT LLC., ASHIRWAD GP.OUP LLC, GERMAN RIOS JR.. INDIVIDLTALLY,
 & CARLOS SANCHEZ INDIVIDUALLY, &'A/B/A C & G~TRUCKING, , RAUI; P~AMIREZ,
                         & WEEKS MARINE, INC., DEFENDANTS
Said Plai.ntif,f's Petition was filed on.01/31/2020 in said court by:
        JON $. ELLI$, ATTORNEY FOR.PLAINTIFF
       8620 N. .NEW BRAUNE'ELS AVE. SUITE 110
        SAN ANTONIO TX 7.8217
       -                   ,. .  .
WITNESS ESTHER DEGOLLADO.~ DIS.TRICT.C~,ERK OF.WEBB,COUNT.Y, TEXAS, ~I~sued
and given under my hand'and seal of said court• at office, ~on this the
5th day of.'Feb~iiary, 2020. . ,
                        G . 'L   E   R    K. ~    O      F      C        O   U   R .. T

    ,`,OF;WEf3e    ~                                         ESTHER DEGOI,LADO
 JQ;•`~~      ~ '~~O                                         WEBB COUNTY DISTRICT CLERK
O:                 G                                         p,0. BOX 667
Uc                 Z                                                                                       .
~.                 .~                                        LAREDQ~. TX~7.~42

  ~'•.                                   BY: _                                               DEPU.TY   .
         T~~. '~~ y
  ~0-•       ••5a                                Sereni,da          Diaz
         Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 41 of 78
                                      v           i,•
          .   ~




                                                                  2020CVF000220D3
                                     A~'k'TCER~ 5 RETURN
                                                   ,.                  _.     _
             'Came to hand on the               day of                   ,~ 2020 at
                          O'CLOCK                     .M.'     Executed          at                        ~.
                                             within the COUNTY of                                     ~.
i      at                    •0.'CLQCK         .M.     on  the              day  of                    I:
                          `,. 2020, by delivering to the within named Coos                            ~'
       SANCH~z, each, in person,:a true copy of t:~is citation together
       with~~ ~`the accompanying_ copy of the petition; having first                                  I
       attached such copy of such petition to such copy~of citation and
       endorsed on such copy of citation the date o~ delivery.

       The distance actually travelled by me in serving such                    process
       was          miles, and my fees are as follows:

       Total. I'ee .for_ serving this cl.tation         _ $
!                               . .                      ... -_
       To. certify which, witness my hand officially.
                                                                                                           ~.

                                                ~SHERTFF, CONSTAF3LE                   ~              ~II
                                                                                                      'i
                                                                       COUNTY, TEXAS
                                                                                                      ~I
                                          BY'                                     ~                   % ;
                                                                             DEPUTY                   ~`
                                                                                                      ~" -
       THE STATE OF TEXAS }                                                                         . G`!~
       GOL~7TY .OF W'~BB  }                                                                             i~
                                                                                                    .; .l.
       Betore me, the undersigned authority, on this day personally
i      appeared                                , who otter being duly                      ~           ,I
       sworn; upon 'oath said that a notice, of which tYie above is a                                   j
~ .    true copy, .was by him/her delivered to                                                 '.
                                                      on the.
~.                   day of                            ,.

      . , STn]ORr] TO AND STJBSCRIBEb BEFORE ME on the       day of
                                         to certify which witness my hand and
          peal of office.                                                                                  ~



                                                                          NOTARY PUFsLIC
                                                                  MY COMMISSION EXPIRES
    Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 42 of 78


                                                                                         SERVE
                                                                                2020CVF000220D3
                                     CITATION
   PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
   GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES I20DRIGUEZ DE
               GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

 THE STATE of ~Exps                                       CALENDAR CALL HEARING SET FOR
 COUNTY of wEsB                                               04/15/2020 AT 1:30PM
 NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAX EMPLOY AN
 ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
 THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
 FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
 CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."
 TO;      GERMAN RIOS JR. & CARLOS SANCHEZ COLLECTIVELY D/B/A C & G TRUCKING
          BY SERVING THE GENERAL PARTNERS
          GERMAN RIOS JR.
          1717 B CORTEZ
          T.ARFDO TX 78043

 DEFENDANT, IN THE HEREINAFTER STYLEA AND NUMBERED CAUSE, YOU ARE
 HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court of Webb
 County, Texas, to be held at the said courthouse of said county in the
 city of Laredo, Webb County, Texas, by filing a written answer to the
 Petition of Plaintiff at ox before 10:00 O'CLOCK A.M. of the Monday
 next after the expiration of 20 days after the date of service
 thereof, a copy of which accompanies this citation, in the Cause #:
 2020CVF000220D3, styled:
      MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
      INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
     INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
   INDIVIDUALLX & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                 PLAINTIFFS
                                    VS.
 •JIT TRANSPORT LLC. ~ ASHIRWAD GROUP LLC, GERMAN RIOS JR. INDIVIDUALLY,
  & CA.RLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                      & WEEKS MARINE, INC., DEFENDANTS
 Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
       JON B. ELLIS, ATTORNEY FOR PLAINTIFF
       8620 N. NEW BRAUNFELS AVE. SUITE 110
       SAN ANTONIO TX 78217

 WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
 and given under my hand and seal of said court at office, on this the
 5th day of February, 2020.
                           C   L   E   R    K    O   F      C   0   U   R   T

  VOv•'''~ ~ ~~~~~''~~~                                  ESTHER DEGOLLADO
~:'                  =~                                  WEBB COUNTY DISTRICT CLERK
v'                    ;c                                 P.O. BOX 667
~';                   ~y                                 LAREDO, ,~ X 78042
i;                :-Y

 ~ ~           .~;'~~'                     BY:                                     DEPUTY
                                                 Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 43 of 78



                                                                        2020CVF000220D3
                                 OFFICER'S RETURN

     Came to hand on the               day of                   2020 at
                 O'CLOCK                   .M.       Executed        at
                                    within the GOUNTX of
at                      O'CLOCK       .M.   on  the            day   of
                         2020, by delivering to the within named GE~rt
RIGS JR. & CARLOS SANCHEZ COLLECTIVELY D/B/A C & G TRUCRII~IG BY SERVING THE
GENERAI, PARTNERS GERMAN RIGS JR., each, lri person, a true copy Of
this citation together with the accompanying copy of the
petition, having first attached such copy of such petition to
such copy of citation and endorsed on such copy of citation the
date of delivery.

The distance actually travelled by me in serving such                           process
was          miles, and my fees are as follows:

Total Fee for serving this citation                        $

To certify which, witness my hand officially.


                                                  SHERIFF, CONSTABLE

                                                                       COUNTY, TEXAS


                                                                             DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                               , who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.


                    ~~Tr~~e~ copy of the nginal. I certi~
                the ~
                   :t-L-~----day    of
                         ESTHER DEGOLLADO
                                           ~i►~.   20 ~ ~          -
                                                                       NOTARY PUBLIC
                      Clerk of the District Courts and         MY COMMISSTON EXPIRES
                County          t Law Webb-County. Texas
                   By,,~~(G-~..~r-y—Deputy
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 44 of 78


                                                                                             RETURN
                                                                                     2020CVF000220D3
                                    CITATION
 PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOiTRDES RODRIGUEZ DE
 GONZAI,EZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOUEtDES RODRIGUEZ DE
              GONZALEZ'S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

TxE   STATE    of TEXAS                                        CALENDAR CALL HEARING SET FOR
COUNTY      of rntEss                                              04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY.  IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
THE CLERK WHO ISSUED THz5 CITATION BY 10:00 A.M. ON THE MONDAY NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER XOU WERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."
TO:      GERMAN RIGS JR. & CARLOS SANCHEZ COLLECTIVELY D/B/A C & G TRUCKING
         BY SERVING THE GENERAL PARTNERS
         GERMAN RIOS JR.
         1717 B CORTEZ
         T.ARFAO TX 78043


pEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
HEREBY CONff~iANDED TO APPEAR BEFORE THE 341st District Court of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition of Plaintiff at or before 10:00 O'CLOCK A.M. of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2020CVF000220D3, styled:
    MA LOURDES G4NZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
     INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                PLAINTIFFS
                                   VS.
 JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                     & WEEKS MARINE, INC., DEFENDANTS
Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
     8620 N. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February, 2020.
                                C   L   E   R    K    O   F      C   O   U   R   T

  OJQ~~O~ W~eeC~p                                             ESTHER DEGOZLADO
 V.            •.G                                            WEBB COUNTY DISTRICT CLERK
 ~~              ~
                _~                                            P.O. BOX 667
 v~                                                           LARE,O,. X 780A2
 (~~:.                     ~y
                      .':~~
                                                BY:                                     DEPUTY
  ~`S~O~''••.......
                      c'                              Serenidad piaz
  Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 45 of 78



                                                         2020CVF000220D3
                            OFFICER'S RETURN

     Came to hand on the            day of                   2020 at
                 O'CLOCK                .M.       Executed         at
                                 within the COUNTY of
at                   O'CLOCK       .M.   on  t`he            day   of
                      2020, by delivering to 'the within named ~~xr~N
RIOS JR. & CARLOS SANCHEZ COLLECTIVEY,Y D/B/A C & G TRUCKING BY SERVING THE
GENERAL PARTNERS GERMAN RIGS JR., each, in person, a true copy of
this citation together with the accompanying copy of the
petition, having first attached such copy of such petition to
such copy of citation and endorsed on such copy of citation the
date of delivery.

The distance    actually travelled by me in serving such process
was             miles, and my fees are as follows:

Total Fee for serving this citation         $

To certify which, witness my hand officially.


                                        SHERIFF, CONSTABLE

                                                        COUNTX, TEXAS

                                  m
                                                               DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                               , who after being duly
sworn, upon oath said that a~notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.



                                                          NOTARY PUBLIC
                                                  MY COMMISSION EXPIRES
        Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 46 of 78


                                                                                           SERVE
                                                                                  2020CVF000220D3
                                      CITATION
    PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
    GONZALEZ`S FIRST SET OF IbITERROGATQRIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
               GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

  THE STATE of TExP,s                            ~        CALENDAR CALL HEARING SET FOR
  COUNTY of wESB                                              04/15/2020 AT 1:30PM
  NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED, YOU MAY EMPLOY AN
  ATTORNEY.   TF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
  THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
  FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
  CITATION AIVD PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

  TO:      WEEKS MARINE, INC.
           BY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON
           11011 RICHMOND AVENUE, SUITE 650
           HOUSTON TX 77042

  DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
  HEREBY CON~IANDED TO APPEAR BEFORE THE 341st District Court of Webb
  County, Texas, to be held at the said courthouse of said county in the
  city of Laredo, Webb County, Texas, by filing a written answer to the
  Petition of Plaintiff at or before 10:00 O'CLOCK A.M, of the Monday
  next after the expiration of 20 days after the date of service
  thereof, a copy of which accompanies this citation, in the Cause #:
  2020CVF000220D3, styled:
       MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
        TNAIVIUDAI~LY, LESI,YLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
      INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
    INDIVIDUALLY & AS REPRESENTATIVE OE ESTATE OF ROBERTO GONZALEZ JR.,
                                   PLAINTIFFS
                                       VS.
   JIT  TRANSPORT  LLC., ASHIRWAD  GROUP LI,C, GERMAN RIGS JR. INDIVIDUALITY,
   & CARLOS   SANCHEZ INDIVIDUALLY,  & D/B/A  C & G TRUCKING, RAUL RAMIREZ,
                        & WEEKS MARINE, INC., DEFENDANTS
  Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
         JON B. ELLIS, ATTORNEY FOR PLAINTIFF
        8620 N. NEW BRAUNEELS AVE. SUITE 110
        SAN ANTONIO TX 78217

  WITNESS ESTHER DEGOLI.ADO, DISTRICT CLERK OF WEBS COUNTY, TEXAS, Issued
  and given under my hand and seal of said court at office, on this the
  5th day of February, 2020.
                          C   L   E   R    K    O    F      C   O     U   R   T
    '~ .••"'
 oJ~_   ~F 'w ee
              ••._. ~,O                                  ESTHER DEGOLLADO
                                                         WEBB COUNTY DISTRICT CLERK
 ~'
F-r                  ~                                   P.O. BOX 667
v:                   ;~                                  LAREDQ TX      42
 cG':                                                       ,     ~, 78
                   .'ma
                      y                                                              DEPUTY
~~/~ ,''•••.... .'~,d~                    BY:
                                                Serena a        iaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 47 of 78



                                                                2020CVF000220D3
                               OFFICER'S RETURN

     Came to hand on the           day of                    2020 at
                 O'CLOCK               .M.        Executed        at
                                withzn the COUNTY of
at                 O'CLOCK        ,M.   on  the             day   of
                    2020, by delivering to the witha.n named wEEiCS
MARINE, INC. BY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON, each,
in person, a true copy of this citation together with the
accompanying copy of the petition, having first attached such
copy of such petition to such copy of citation and endorsed on
such copy of citati.ori the date of delivery.

The distance actually travelled by me in serving such                   process
was          miles, and my fees are as follows:

Total Fee for serving this citation                   $

To certify which, witness my hand officially.


                                               SHERIFF, CONSTA$LE

                                                               COUNTY, TEXAS

                                        m
                                                                     DEP[JTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                                 who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                                            on the
             day of                                          ,

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.

                      rue copy of the (igfinal. I certi
            tf~e ~. . --~---- day of~ll~ ✓G~i 20 ~~
                         ESTHER L7EGOLLADO                       NOTARY PUBLIC
                     Clerk of the D~stnct Courts and      MY COMMISSION EXPIRES
             County Co        aw Webb. County. Texas
               By'            ~`          Deputy
     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 48 of 78



                                                                                                       RETURN
                                                                                               2020CVF000220D3
                                                       CITATION
   PLAINTIFFS` ORIGINAI~ PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
   GONZALEZ`3 FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RODRIGUEZ DE
               GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

  THE STATE       of TE~s                                        CALENDAR CALL HEARING SET FOR
  COUNTY       of wEsB                                               04/15/2020 AT 1:30PM
  NOTICE TO TFTE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
  ATTORNEY.   IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
  THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
  FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THTS
  CITATION AND PETITION, A DEFAULT JUDGMEI3T MAY BE TAKEN AGAINST YOU."

  TO:       WEEKS MARINE, INC.
            BY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON
            11011 RICF~iOND AVENUE, SUITE 650
            HOUSTON TX •77042

  DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
  HEREBY CO2~IANDED TO APPEAR BEFORE THE 341st District Court of Webb
  County, Texas, to be held at the said courthouse of said county in the
  city of Laredo, Webb County, Texas, by filing a written answer to the
  Petition of Plaintiff at or before 10:00 O'CLOCK A.M, of the Monday
  next after the expiration of 20 days after the date of service
  thereof, a copy of which accompanies phis citation, in the Cause #:
  2020CVF000220D3, styled:
      MA LOURDES GONZAL~Z INDIVIUAT,LY, LOURDES RODRIGUEZ DE GONZALEZ
       INDIVIUDALLY, I~ESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
      INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GOI~IZALEZ ANCIRA
    INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                 PLAINTIFFS
                                     VS.
   JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN BIOS JR. INDIVIDUALITY,
   & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                      & WEEKS MARINE, INC., DEFENDANTS
  Said Plaintiff's Petition was filed on 01/31/2020 in saa.d court by:
        JON B. ELLIS, ATTORNEY FOR PLAINTIFF
       8620 N. NEW BRAUNFELS AVE. SUITE 110
        SAN ANTONIO TX 78217

  WITNESS ESTHER AEGOLLADO, DISTRICT CLERK OF WE$B COTJNTY, TEXAS, Issued
  and given under my hand and seal of said court at office, on this the
  5th day of February, 2020.
          _.,,.~ _               C   L   E   R    K     O   F      C      O        U   R   T
    ,~ OF,W~BBC                                                 ESTHER DEGOLLADO
 ~Je,'~              ~''•.O~                                    WEBB COUNTY DISTRICT CLERK
C:~                       '.~                                   P.O. BOX 667
~           ,               -<                                  LARED,~_T~8042
                                                                  ~.wNI       If

   j;,               :a~.                        BY:                                              DEPUTY
    O~'-•••......••~ ~5                                 Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 49 of 78



                                                        2020CVF000220D3
                           OFFICER'S RETURN

     Came to hand on the          day of                   2020 at
                 O'CLOCK              .M.        Executed       at
                                within the COUNTY of
at                  O'CLOCK      .M.   on   the           day   of
                     2020, by delivering to the within named WEEKS
MARINE, INC. BY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON, each,
in person, a true copy of this citation together with the
accompanying copy of the petition, having first attached such
copy of such petition to such copy of citation and endorsed on
such copy of citation the date of delivery.

The distance   actually travelled by me in serving such          process
was            miles, and my fees are as follows:

Total Fee for seraing this citation        $

To certify which, witness my hand officially.


                                      SHERIFF,.CONSTABLE

                                                       COUNTY, TEXAS


                                                             DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                                 who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.



                                                         NOTARY PUBLIC
                                                 MX COMMISSION EXPIRES
  Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 50 of 78


                                                                                            SERVE
                                                                                   2020CVF000220D3
                                   CITATION
 PLAINTIFFS` ORIGINAL PE'~ITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
 GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURDES RpDRIGUEZ DE
             GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

Tx~      STATEo~ ~rExP,s                                     CALENDAR CALL HEARING SET FOR
COUNTY     of wESB                                               04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: ~~YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY.  IF YOU OR XOUR ATTORNEY DQ NOT FILE A WRITTEN ANSWER WITH
THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
CITATIQN AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:       RAUL RAMIREZ
                                                  OR WHEREVER HE MAY BE FOUND
          36215 COUNTY LINE ROAD
                                                      VIA PRIVATE PROCESS,
          BRQOKSHIRE TX 77423

bEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
HEREBY COMMANDED TO APPEAR BEFORE THE 342st District Court of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition of Plaintiff at or before 10:00 O'CLOCK A.M. of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2020CVF000220D3, styled:
    MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZAI,EZ
     INDIVIUDALLY, LESI~YLE GONZALEZ INDIVIDUALLY,. CYNTHIA GONZAI,EZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                PLAINTIFFS
                                   VS.
 JIT TF2ANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INLTIVIDUALI,Y,
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUI, RAMIREZ,
                     & WEEKS MARINE, INC., DEFENDANTS
Said Plaintiff's Petition was tiled on 01/31/2020 in saa.d court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N.. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February, 2020.
                            C   L   E   R    IC     0   F      C   O   U   R   T

     QF,WEBe                                                ESTHER DEGOLLADO
 ~:~'      ~'~Cp                                            WEBB COUNTY DISTRICT CLERK
 >:'           ~~GZ                                         P.O. BOX 667
                 ~;~                                        LARE,O, T    8042

 ~~                  }may                   BX:                                       DEPUTY
 ~'%j.           ..c,'a                            Serenidad Diaz
           Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 51 of 78



                                                                                             2020CVF000220D3
                                                        OFFICER'S RETURN

                      Came to hand on the                          day of                  , 2020 at
                                  O'CLOCK                              .M.        Executed        at
                                                                 within the COUNTY of
       at                O'CLOCK       .M,   on  the            day  of
                          2020,  by delivering to the within named RP,oL
      RANtIREz, each, in person, a true copy of this citation together
      with   the. accompanying   copy of the    petition, having first
      attached such copy of such petition to such copy of citation and
      endorsed on such copy of citation the date of delivery.

      The distance actually travelled by me in .serving such process
      was          miles, and my fees are as follows:

      Total Fee for servi.nq this citation                                    $

      To certify which, witness my hand officially.


                                                                        SHERIFF, CONSTABLE

                                                                                            COUNTY, TEXAS

                                                                BY
                                                                                                   DEPUTY

      THE STATE OF TEXAS y
      COUNTY OF WEBB     }

      Before me, the undersigned authority, on this day personally
      appeared                               , who after being duly
      sworn, upon oath said that a notice, of which the above is a
      true copy, was by him/her delivered to
                                                    on the
                   day of

      SWORN TO AND SUBSCRIBED BEFORE ME on the                                            day of
                                                             to certify which witness my hand and
      seal of office.


      ~, C Z ~ ~~,,, !~/~
                       i                                         ~9inal I r.Prti
               `°~~'T~:                    A True copy of the                                 NOTARY PUBLIC
 ~`~              "°. n. ~                            da y of     '✓~h 2~~
° ~-~.:•-,F~<~.~„~ •.~~                the                                             MY COMMISSION EXPIRES
                     ;T _                        ESTHER ~EGOLLADO
     T~       i1~~ ; m =                     Clerk of the District Courts
                                                        Law V~e~bb County. ~~~dTexas
    ~dT`'' `~~;~             a'~;;\~    County C      at
                                                        ,_     .-9       Deputy


  ~~~;illlll i llil~,A~~~~
   Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 52 of 78



                                                                           --                   RETURN
                                                                                        2020CVF000220D3
                                    CITATION
 P7~AINTIFFS` ORIGINAL PETITION., REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
 G`ONZALEZ`S FIRST SET OF INTERROGATpR2ES TO DEFENDANTS & LOUR.DES ROARIGUEZ DE
             GONZALEZ`S FIF25T REQUEST FOFZ PRODUCTION TO DEFENDANTS

THE STATE o~ TEXAS                                           CALENDAR CALL HEARING SET FOR
COUNTY of wESB .                                                 04/15/2'020 AT 1:30PM
NOTICE TO THE DEFENDANT: "YOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY.    TF YOU O,R YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH
THE CLERK WH0 ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
FOLLOTn1ING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERRIED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:     RAUL RAMIREZ
                                                  OR WHEREVER HE MAY BE -FOUND
        36215 COUNTY LINE ROAD
                                                      VIA PRIVATE PROCESS.
        BROOKSHIRE TX 77423

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
HEREBY CONIIrIANDED TO APPEAR BEFORE THE 341st District Court of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition of Plaintiff at or before 10:00 O'CLOCK A.M, of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2020CVF000220D3, styled:
    MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
     INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY', CYNTHIA GONZALEZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                PLAINTIFFS
                                   VS.
 JIT TRb1NSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                     & WEEKS MARINE, INC., DEFENDANTS
Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOL7~,D0, DISTRICT CLERK OF WEBB COUNT X, TEXAS, Issued
and given under my hand and seal. of said court a~ office, on this the
5th day of E'ebruary, 2020.
                            C   L   E   R    K      O   F      C   O   U        R   T

       ~~ WEBe                                              ESTHER DEGOLLADO
   4'~.:•''' ~ "••;C'0                                      WEBB COUNTY DISTRICT CLERK
 ~;~                ~~G
                      2                                     P.O. BOX 667
V~                    ~-~                                   LARE    T    8042
~                     :-C
U:                    .y
~~~~'                 ~                     BY:                                            DEPUTY
~,'~s~O,          :~-a
                     }                             Serenidad Diaz
 `~.
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 53 of 78



                                                        2020CVF000220D3
                           OFFICER'S RETURN

     Came to hand on the          day of                  2020 at
                 O'CLOCK              .M.       Executed       at
                               within the COUNTY of
at                 O'CLOCK       .M.   on the            day   of
                    2020, by delivering to the within named RAUL
1t~,MI~Z, each, in person, a true copy of this citation together
with the accompanying copy of the petition, having first
attached such copy of such petition to such copy of citation and
endorsed on such copy of citation the date of delivery.

The distance actually travelled by me in serving such process
was          miles, and my fees are as follows:

Total Fee for serving this citation        $

To certify which, witness my hand officially.


                                       SHERIFF, CONSTABLE

                                                       COUNTY, TEXAS


                                                              DEPUTX

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersigned authority, on this day personally
appeared                                 who after being duly
sworn, upon oath said that a notice, of which the above is a
true copy, was by him/her delivered to
                                              on the
             day of

SWORN TO AND SUBSCRIBED BEFORE ME on the       day of
                           to certify which witness my hand and
seal of office.



                                                         NOTARY PUBLIC
                                                 MY COMMISSION EXPIRES
  Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 54 of 78
                                                                     _.
                                                                                                                    Filed
                                                                                                    ~i~ ai~n~n ~ ~•nn nnn

                                                                                                       District i
                                                                                                      Webb Di ~ict
                                                                                               RETORN Frida G cia
                                                                                       2020CVF00022~~VF0002: D3

                                       CITATION
    PLAINTIFFS' ORIGINAL PETITTOI+I, REQUEST FOR DISCLOSURE, LOURDES RODi2TGUEZ DE
    GONZAT,PZ`S FIRST SET .OF INTERROGATORIES TO DEk'ENDANTS & I,OURDEB RaDRTG'UEZ AE
                GONZALE2`S FIRST }.2EQUEST E'OR PRODUCTION TO DEB'ENDANT$

 ~xE STATE OF ~r~xAs                                              CALENDAR CALL HEARING SET FOR
 COUNTY OF WEBB                                                       04/15/2020 AT 1:30PM
 NOTICE TO THE DEFENDANT: ~~YOU HAVE BEEN SUED. YOU N1AY EMPLOX AN
 ATTORNEY.   I~ YOU OR YOUR ATTORNEY DO NOT FILE A WR2TTEN ANSWER WITH
 THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
 E'OLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
 CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKEN AGAINST YOU."

 TO:         WEEKS MARINE, INC.
             SY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON
             iiotii RICHMOND AVEN(JE, SUITE 650
             FIOUSTON TX 77042

 DEFENDANT, ZN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
 I3EREBY CON~iANDED TO APPEAR BEFORE THE 341st District Court of Webb
 County, Texas, ~o be held at the said courthouse of said county in the
 city oP Laredo, Webb County, Texas, by filing a written answer to the
 Petition of Plainti£~ at or before 7.0:00 O'CLOCK A.M. of the Monday
 next after the expiration of 20 days after the date of service
 thereof, a copy at which accompanies this citation, in the Cause #:
 2020CVF000220D3, styled:
      MA LOURDES GONZALEZ INDIVIUALLY, LpURDES RODRIGUEZ DE GONZALEZ
       INDIVIUDAT,LY, LE3LYI,E GONZALEZ INDIVIDUALLY, CYA7'1'F3IA GONZALEZ
      INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
    INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                  PLAIN7.'IFFS
                                      V5.
   JIT TRANSPORT LLC., ASHZRWAD GROUP LLC, GERMAN RTOS JR. INDIVIDUALLX,
   & CARLOS SANC~IEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL F~IMIREZ,
                       &,WEEKS MARINE, INC., DEFENAANTS
 Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
        JON B. ELLIS, ATTORNEX FOR PLAINTIFF
        8620 N. NEW HRAUNFELS AVE. SUITE 110
        SAN ANTONIO TX 78217

  WIR'NESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
  and given under my hand and seal of said couxt at office, on this the
  5tih day of FebruaY~y, 2020.
          __,.,,,,,,,,,~.          C   L   E   R    K    O   F        C   O    U   R   T

                                                                 ESTHER DEGOLLADO
 ~J~~'~u'•••~~•`•.68~,
        ~         ~'••.OG                                        WEBB COUNTY DrSTRICT CLERK
v                           '~                                   P.O. BOX 667
                             :-[                                 LARED.  T 78042

r~~n'•.   ~~ ,a~~
                y                                  BY:           ~~           ~~           DEPUTY
~~0'''•••.             '~5                               Serenidad Diaz
Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 55 of 78




                                                       2020CVF000220D3
                           OFFICER'S RETURN

     Came to hand on the           day of                  , 2020 at
                 O'CLOCK               .M.        Executed        at
                                within the COUNTY o~
at                 O'CLOCK        .M,   on  the             day   of
                    2020, by delivering to the within named WEEKS
MARINE, 2NC. BY SERV2NG 2TS REGISTERED AGENT THOMAS P BOYNTON, each,
in person, a true copy of this citation together with the
accompanying copy of the petition, having first attached such
copy of such petition to such copy of ci~ata.on and endorsed on
such copy of ca.tation the date of delivery.

The distance actually trave].1ed by me i.n serving such process
was          miles, and my fees are as follows:

Total Fee far serving this cita~Cion      $

To certify which, witness my hand officially.


                                       SHERIFF, CONSTABLE

                                                     COUNTY, TEXAS

                                :~
                                                            DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before m~, the undersigned authari+-            s day personally
appeared                                         after being duly
sworn, upon oath said th~'              ~ e~      the above is a
true copy, was by h~~             }~~
                           e P~"" ~~,             ~n the
             day        Se A             ~         ,
                            f~
SWORN TO AND SUBSC            ~~~~ ~•~~; on the    day o~
                           to certify which witness my hand and
seal o~ office.



                                                        NOTARX PUBLIC
                                                MX COMMISSION EXL'IRES




                  714 2870 ~~~2 2377 ~3~5
       Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 56 of 78




                             CAUSE NO. 2020CVF000220D3

MA LOURDES GONZALEZ, ET AL                               §           IN THE DISTRICT COURT
        Plaintiffs,                                      ~

v.                                                       §           341St JUDICIAL DISTRICT

JIT TRANSPORT LLC, ET AL                                 §
          Defendants.                                    §           WEBB COUNTY, TEXAS

                        AFFIDAVIT OF PERSONAL SERVICE

        Aaron Woodward appeared in person before me today and stated under oath:

        "My name is Aaron Woodward. I am over the age of eighteen years, and I am fully

competent to make this affidavit.

"The following came to hand on February 7, 2020 at 1839 hours.

        "On February 13, 2020 at 1050 hours, I personally delivered the following listed

documents to Weeks Marine, Inc., by serving its registered agent Thomas P.

Boynton, at I1011 Richmond Avenue, Suite 650, Houston, Texas 77042, via U.S.

certified mail restricted delivery, return receipt requested, tracking no.

70142870000223770305:

     1) Citation;
     2) Plaintiffs' Original Petition, Requests for Disclosure, Lourdes Rodriguez De
        Gonzalez's First Set of Interrogatories to Defendants &Lourdes Rodriguez De
        Gonzalez's First Request for Production to Defendants;
     3) Plaintiff Lourdes Rodriguez De Gonzalez First Requests for Production to
        Defendants LJIT Transport LLC, Ashirwad Group LLC, German Rios Jr., Carlos
        Sanchez, C & G Trucking, Raul Ramirez, and Weeks Marine Inc;
     4) Decedent Roberto Gonzalez Jr Lourdes Rodriguez De Gonzalez First Requests for
        Production to Defendants JIT Transport LLC, Ashirwad Group LLC, German Rios
        Jr., Carlos Sanchez, C & CT Trucking, Raul Ramirez, and Weeks Marine Inc.; and
     5) Plaintiff Lourdes Rodriguez De Gonzalez First Set of Interrogatories to Defendant
        Weeks Marine Inc.          '"' ' '

                                                                    True copy of the gr~g~n~al~I certi r
                                   . ~y .~F ,        ~~ ~      the            day of~_.. 20
                               °"          ~~       ~~~ =               ESTHER DEGOLLADO
                                    ~      '~ ~~          ~~        Clerk of the D~stnct Courts and
                                  •,
                               ~;~•.,a ~~~      .,. .~~:~      County C        Law Webbbounty. Texas  ~
                                                                 Sy            ''                De u

                                                                     l
      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 57 of 78




       I am a person over eighteen (18) years of age and I am competent to make this

affidavit. I am a resident of the State of Texas. I am familiar with the Tex. R. Civ. P. as

they apply to service of process. I am not a party to this suit nor related or affiliated with

any parties herein and have no interest in the outcome of this suit. I have never been

convicted of a felony or o£ a misdemeanor involving moral turpitude. I have personal

knowledge of the facts stated herein and they are true and correct."




                                                                           r   oodward


                                                                     1D39~ - 6~3a/=~~
                                                                     SCH No. / Exp Date




SIGNED under oath before me on this, the                         ~~ day of February 2020.



            : ~.~`'~,'„'h'~~~,,~_ MICHELLE WOODWAiiO
             2~~            ~~,: Notary Public, State of Texas
              "~~'r~ Comm. Expires 06.27.2029                        Notary Public, State of Texas
                 . " ;~+`~          Notary 1D 130239936




                                                                         Tr e copy of the qnganal. I certify
                                                                    the            day of /~~17s y~~`l 20 ~~~
                                                                            ESTHER DEGOLLADO
                                                                         Clerk of the D~stnct Courts and
                                                                    County    u    t Law Webb County. Texas
                                                                          By   ~   ''~-~          Deputy
Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 58 of 78




       j r Complete hems 1, 2, and 3.                                      ~~p. Signature
      E ■Print your name and address on the reverse                        '~                                                ❑Agent
      ~    so that we can return the card to you.                     ~    ~                                               D Addressee
      i ■Attach this card to the back of the mailpiece,                     B.        ved by (Prl ed Name)             C. Date of pellvery l
     ~i    or on the front if space permits.                                                                                                 ~
        1. Article AddYessed to:                                            D. Is delivery address different from ftem 1? ❑Yes               ~
                                                                                 If YES, enter delivery address below:       p No.
                 WEEKS MARINE, INC.                                                                                                          l
               C/O: THOMAS P BOYNTON
          11011 RICHMONA AVENUE,SUITE 650
     ~~         HOUSTON, TEXAS 77042


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     ~~: ~        '                                                       ❑Insured Mall Restricted Del(very         Restricted Delivery
     i          701428'70000223770305 '                                     (over$5oo
           Form 3811, Ju(y 2015 PSN 7530-02-000-9053                                                          Domestic Return Receipt ~
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 59 of 78
                                                                                          2/18/2020 12:(
                                                                                             Esther Deg
                                                                                    RETURN District
                                                                            2020CVF000220D3 WebbC
                                                                                   Frida C
                                   CITATION                                  2020CVF0002
 PLAINTIFFS` ORIGINAL PETITION., REQUEST FOR DISCLOS'(JRE, LOURAE3 RODRIGUEZ DE
GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS & LOURbE5 RODRIGUEZ DE
            GONZALEZ`S FTT2ST REQUEST FOR PRODUCTION TO DEFENDANTS

TxE s~Ax~ o~ TEXAS                                        CALENDAR CALL HEARING SET FOR
COUNTY of wESB                                                04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: "XOU HAVE BEEN SUED. YOU MAY EMPLOY AN
ATTORNEY,  IF YOU OR YOUR ATTORNEY DO NOT FTLE A WRITTEN ANSWER WTTH
THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MONDAY NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER YOU WERE SERVED THIS
CITATION AND PETITION, A DEE'AULT JUDGMENT MAY BE TAKEN AGAINST YOU."

TO:     RAUL RAMIRE2
                                               OR WHEREVER HE MAY BE FOUND
        36215 COUNTY LINE ROAD
                                                   VIA PRIVATE PROCESS.
        BROOKSHIRE TX 77423

DEFENDANT, IN THE HEREINAFTER STYLED AND NiJt~ERED CAUSE, YOU ARE
HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court of Webb
County, Texas, to be held at the said courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition o~ Plaintiff at or before 10:00 O'CLOCK A.M, of the Monday
next after the expiration of 20 days after the date of service
thereof, a copy of which accompanies this citation, in the Cause #:
2020CVF000220D3, styled:
    MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
     INDIVIUDAI,LY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
    INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR.,
                                PLAINTIFFS
                                   VS.
 JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                     & WEEKS MARINE, INC., DEE'ENDANTS
Said Plaintiff's Petition was filed on 01/31/2020 in said court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX 78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February, 2020.
                        C   L   E   R    K       O   F      C   O   U   R   T

     ~F W~eB                                             ESTHER DEGOLLADO
  "~
 ~.~     ~   ~'G
            ••,O                                         WEBB COUNTX DISTRICT CLERK
 ~;            •..2                                      P.O. BOX 667
                 ~~                                      LARED   T    8042
                 i-<

  '•.            'nom                   BY :                                    DEPUTY
  ~~  0,.    .•~-d~                              Serenidad Diaz
 Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 60 of 78



                                                          2020CVF000220D3
                                OFFICER'S RETURN

          Came to hand on the    day of                  2020 at
                      O'CLOCK        .M.       Executed       at
                              within the COUNTY of
at                O'CLOCK       .M.   on  the           day   of
                   2020, by delivering to the within named ~UL
RAMIREZ, each, in person, a true copy of this citation together
with the accompanying copy of the petition, having         tirst
attached such copy of such petition to such copy of citation and
endorsed on such copy of citation the date of delivery.

The distance       actually travelled by me in serving such        process
was                miles, and my fees are as follows:

Total Fee for serving this citation           $

To certify which, witness my hand officially.


                                          SHERIFF, CONSTABLE

                                                         COUNTY, TEXAS

                                     ~~
                                                                DEPUTY

THE STATE OF TEXAS }
COUNTY OF WEBB     }

Before me, the undersign                           is day personally
appeared           ~~                '             ~ after being duly
sworn, upon oa                                      n the above is a
true copy,                e P,~`~ tip.
                        Se       ~'                   on the


SWORN TO AND ~               '~rORE ME on the       day of
                                to certify which witness my hand and
seal of office.

 ~~~~ ~
  ~ `
                         A T ue copy of theJ~~~ +na! I certify NOTARX PUBLIC
                     ihe.~Q..:'~day of/~'1~ ~ . 20~~,~~y COMMISSION EXPIRES
                              ESTHEF2 DEGOLLADO
                           Clerk f the District Courts and
    ;-                County Co     t Law Webb' ounty. Texas
     ., ...             gy        .~L ~ ,~ Deputy
              ,.
                               Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 61 of 78




                                                                   CAUSE NO,     ZoiacvFooa2zoo.~
                   MJ1 IOURDfS GON7J►LEZ INOMDUAI,LY, LQURDES                       S                                            IN THE' COURT QF
                   ROORIGUEZ QE GONZAl.EZ INDlVIDItALIY, t.ESLYLE                   S
                   GONZALEZ INDMDUALLY, CYNTHU GONZALEZ
                   INDIVIDUALLY, LAURA GATICA tNDIViQlIA1.lY,
                   ROBERTO GOI~QJLLEZ AF1tIRA INDIVIDWILLY f~ AS
                   REPRE5ERtTA71Vf Of ESTATE QP ROdERTO GiiNTALEZ
                   JR.
                                        Plair~Ciff,
                      VS.                                            5                                                             MV~B1! Ct3UNTY.
                                                                     4
                       jIT TRANSPORT lLC„ AStiiRWAD GROUP LLC, GERWW 4
                       R105 JR. INptViDUALIY, 8~ D/8!A C do 6 TRUCKING,
                       RJtUL RAMIREZ, &VYfEK5 MARINE, INC.
                                                 ~~e~aarn.                           S                                 ~~sr Jtw~CUN. olsrR![T

                                                                          AFFlDAYIT O~ SERVICE

                       On thLs day personalty appeared Joht► L. Preston. Sr. wt~o. being by rrle thAy sworry deposed end said:

                       "The following Came to hand cm Feb 12.2(320, 4~6 pm,

                            CITATION, PIAiNTIFFS OitIGIHAt. PETfT10N, REQU[ST FOR t1fSClOSURE. L~1JRt?ES ROL1R1liW~t iXc80NZALEZ'S
                            RRST 5@T Of t1RERR06ATORlES TQ DEF~fiDIWTS i~ LOURDES R~RIGUEZ DE li~Zi►IEZS FfRST RlQUE5T !~1!
                                                                         PRODUC1iDN'tC) DEf~NDANTS.

                       and was executed at 36215 County LRne {k~ dmokshire, TX 77433 vwd~ie 1lfe R~DUII'~ d 4RwMr ut YS~4!'Id1 a~ w+d ~'+1►
                       122020, by deitve~tng a true copy Sri the wtti~in narr~d

                                                                                 R~►u~ wurtt~6z

                        in person, having ftrst er~dcrrsed the dale of deNvery on same.

                         am a person over eigtrteen (18) years of aEe and I am compeberx eo make tKs a/thdwit I,ssn a r~sldeat d tt~ StsOe of
                        Texas. i am familiar v~th the Texas files of Chd~ F'rvicedW'~e as the sPi~' m       o ~~~• ~ ~~~~ ~~~
                        suFt nar reieted or affitiaUrd wftf+ aty harem. arxi haw no in0anst in the auczarrw of tfie wit. t have r~e~w+~ ~corrrlcted
                        of a falor~y a of a misdemear►or involving moral turp~cAe. i havQ persaul i~ev~ied8e o4' Mee fads stated i►~ereln anc~9tdY
                        are uue and collect"




                                                                                         John L. Preston, sr.
                                                                                         CertMcatio~r Nua~brr. #P5t0s99
                                                                                         CerttRun9on bcp~'atbn:0i/3W~20Z1

                         BEADRF ME, a Notary PuWlc, on this day perso~aUy appeared)oh~ L Preston, Sr., knowrt.to me no be the ppnon v~A~se
                         name Is s~schbed to tt~e forego{r~ doument and, beirt~ by rr~ fltsi duly sw~R dedat'ed that ttx slabett~erds therein
                         contained are witfiin his or her personal iviowiet~e and are bve acrd correct
            ~~\1111
 \\\~~(~~~\ ~;F Y ~`     SUBSCli18ED AND SWORN TO 1AE ON FEBRUARY 13, 020
  -~`  ~~>
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                                                                                          Notary PubNt. State o!
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                ,d'"~~+~        :r„ ..                   Nota.y {0!t Y4r t 3S0                              Tr},e copy of the nginai. 1 certify
  t't- '•                       ~ -~c' ~              ~ My CommiscMn E~in►s                           the  ~ Vl       day of,
   v '•                             ~      '~                                                                                         ~1. 20 ~~
                                                                                                                ESTHER DEGOlLADO
                                                                                                            Clerk of the I~~strict Courts and
                                                                                                       County Co      t Law Webb County. Texas
                                                                                                         ~Y            '~'Z`"`           Deputy
        Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 62 of 78


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                                                                                                            ~ TUF.~V
                                                                                                   2020cv£~oCO22~n3
                                                         c I 2'AZ' i ON
       P:.J~_:':7'.(1~~ i OF.~GINt1L nETITIrJtd, REQ'JRST FOR DISCLOSURE, LOi1RDES ROnRT.GLTEZ i~E
      GOB]"1?74, ';^, 'r'IF2ST SET OF INTc~RFOGA'I'ORIES TO Dabc.NDAt1T5        L~~LTF.DE3 t20DRTGUE~ DE
                          ^~NZ7li,EZ `S FIFS'" RF,QT.TEST FQR P120DUCTIOI3 TO PEF.:NUAN'.`S
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     ~rx~ STATE or TEXAS                                         CALENDAR C.41.L HE/~RfNG SFT' FOK       I
     COL'taTY    of wESB                                                       04/1S/202G AT 1:30PM
     NdTIC~ TO THE DEFENDANT:          "YOJ HF~VE uEFiV SUEC.        YOU MAY E:~;PL~Y ~~N
     7?TTOE2~EY      IF YOU OR '~OC~R 11TTOF?NGY DJ NO'T F'IlaE A t~'RIT'I'EN ANSWER 4iI1'H
     THE CLFEiK ln~HO ISSUED THiS CTTA'I'IUN BY 10:00 I~1.N. ON THE MOVU~X NeXT
     FOLLO~vI?~dG THE E::PIRI~TIUN OF Tt4ENTY DAYS AFTER SOU Y,'~                    ._,.. THIS
                                                                              •oERV~_.J.'''
     CI'I'ATI0:~1 AND PETITION, A DEI'AUL'P J~DGMf':AJT MAY F3 E TAriE^1 r1G  NAT Y~."

     TO:        CARLOS uANCHEZ                                                                          ~- ~ ,
                4Q19 SANTA CLEOTILDE                n~ VdF1EREV~,R HE, MAY BE FnU;~ID `                 t '"
                                                        VIA PRIVATE PROC~,SS .          _                    -   _.,.
                LAP.EDO TX 78941
                                                                                                   '`   ~      ~ ...
     D~.F~.t~i7ANT,        IN THE fiERET~dAFTER STYLED Aiti'D P7LIMBFRE:D CFA Ste;' S'O~ A3tiE
     HEP.E13't COt~NllED TO APPEAR IIT:FORE THE 341st D~striC                                     urt of 6V~~bb
     Cou;~t~,~, 'Pe~cas, to Yee held at the said courthouse ~{ said county ire tine
       i ty of ~arc~do, Webb County, 1'e.x~~s, by filing a ~~:~itten answer ro t:he
     P...L..i:~~n cf F'l;,.intifF a~ o: ;ae~c:c iG.OU O'CLGCY r. . M. of the l~':;n~cy
     /1~:'i'1=   ~~ c `E,-  t }~E-? P_:C171Yu~1~]'] Of   ~~~  C.~~7~~ dit=E'1"' 1:ti1E~ C.~dtE-'   of s~r~~~.cn
     ~ ,e:~:=~>~, a copy            of  whi~i~   accor,~n~nies    this   citat~or~,      in      the  C~a.}s~ #:
     ~O~CC`~~F' ~ _ . _'~ `.'~;3, styled:
               MF, LOliRD~S GQNZALEZ INDIVItJALLY, LOURDES RODRIGi7F:Z DE G02~Z.ALEZ
                INDTV3UDAL,LY, L~:SLYLE GON7.ALEZ INDIVIDUALLY, ~.YNT'ciIp. G(~NZALEZ
               INDIVIDUALLY, LAURA GATIrA I27DIVIDUALLY ROBERTO GONZALEZ 2~1NC7k.~
          7N*JTVIDUALLY & AS fiEPRESFIJ'PI~TTVE OE' ESTATE OF ROBERTO GON'LAI,~~ 3Ft. ,
                                                     PI.AINI'IFFS
                                                          VS.
       JI'L' TRFyNS~ORT LLC. , ASHIRWAD GFOUP LLC, GERMAN i2IO:i JR. I*?DI~TIDUAI.LY,
       & CARLOS SAI3CHEZ INDI4IDUFiLLY, & D/B/Fs C & G TRUCKING,                             RAUZ F.AMl'R~Z,
                                       & WEEKS MARINE, INC., DEFENDANTS
     S~ii~ P1.aic:tiff's Petiticr. :vas piled on. O1 /31/2C~~ i~~ s~~d cot; -:: by:
                 JON B. ELLIS, ATTORNEY rOR PLAINTIFF
                 3620 N. NE47 BRAUNFELS IiVE. SUITE 110
                 SAN ~NTONIG TX 7E3217

     WIT1Jc.S5 ESx'HER DECOLI.ADO, DIS7'RZC;T CLEFK OI' Wf::Btu {~t~Ut~'`I"c', Tr,X11S, Issued
     anal y~ ~✓en under my hard and s~ai. cf sa:i.d court at ef~ic,e, on this L'IlP_
     5i:i, c'ay o~ February, 20.~G.
                                   C   L   ~   R    FC      C    F        C    O     U   R   ']`

              ~ pF WEgB                                              F~T1iER GEGC~'.;_.::DU

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     E~;                    -•-~                                     I,AREf)C  TX 7P i4?.
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           Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 63 of 78
     ~+~`

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     r.    J




                                                                    2 02 OCVFfl QQ220D3
                                     ~~x~~c~R~ 5 ~ExvRrr
               Came to hand on the            day of                     2020 at
                           O'CLOCK       ~        .M.         EXeCuted        at
                                           within the COUNTY of
          at                  ~0`GLOCK     - .M.   on   the             day   of
                            ', 2020, by, delivering to the within named CA~oS
          SAr1CHEZ, each, in person r a true cop}~ off' t;~is ca.tation togethex
          with the accompanying copy of~ the petition; having first
          attached such copy of such petition to such copy of~citation and -
          endorsed on such copy of citation the date of delivery.

          The distance actually travelled by me in serving such process
          was          mzles, and my fees are as follovts:     ..

          Total. Fee .fo.r seryin.g this citation      $

          To certify which, witness my hand officiaJ.l.y.


                        -                          ~SHERTFE', CONSTABLE

                   ~~                                             COUNTY, TEY,AS

                                             Bl'
                                                                          DEPUTY
                   t.
          THE STATE OE TEXAS }
          CONY O£' WEBB      }

          Before me, the undersigned authority, on this day personally
          appeared                                  who after being duly
          swgrn, upon oath saa.d that a notice, of which the above is~a
          true copy, was by him/her delivered to
                                                         on ~hP
                       day of                               .

          S~aORDI TO AND STJBSCRIBED BEFORE ME on the       day of
                                        to certify which witness my hand and
          peal of office.



                                                                    NOTARY PUBIC
                                                             MY COMMISSION EXPII~~S
                      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 64 of 78



                                                             PROCESS SERVER'S RETURN

                                                       CAUSE NO. Z~J Zv Cv J=" ~GU 27U D ~

                      STA3'F, OF TEXt~S

                      CO~'TY C)F V~'F~~

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                             ~3EFOR~ ~~E, ~ Notary Pubic ire and for the State off' 3'exas, car~ie and appeared ~e
                      undersigned, of legal age, who by ine being ~'irs~ duly sworn, under oa~~ ~ere~y deposes and
                      says,

                              ``~~y ~aa~e is GABRIEL A. HERNANDFZ. 1V~y place off' ~aisiness 31' 84
                      GROVELAREDO, TEYAS. I aaTa c~ia~y aux~norized process server ~~de~ Rule 103 o~the
                      ~'ex~s Rules cif Civ~i Procec~u~e." ~'~e £oregoia~g uis~~aaaa~nent:



                                   ,~i~r iv~~s ~~~;c~l~~~ ~~ <I o l ~t ~A~rA C~ 0 7~ e~ L,~ ~- ~~~                                          7~-a~l ~
                       d~'it~~in_the Co~:~~'ty o~      ~e` ~          apt _       '.~ ~"      o't~lc~ek ~.M. oi~ ~~e    ~_dayo~'
                              ~" ~ ~ }^Vt,4~~.1                                            ,2f~~,~ 4~y de~averi~g ~o ~~ie wa~hiin r~a~ec9

                       ~i1 ~CiSOPi~ d ~2iSC C0~3y C)~I~3i9T~~T ,.~ la_rNr~~~«i2thr~vlc F~ rrT~'r.~. 1Zr~li~i, 1 ~Fvn.11is«asu
                                                             ~U~~L1R'(                            ~' s~r~F' ri-h~i211a6a7'a/lr
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                       ti~ ~'i' V AS iVr(~'~' EXEC t'': _ t.,,                r~•.~-rte r~~ s,~ u,vN -r '.                           i"21>iT'12~GfCIIn"
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                       c~a~igei~~e used To exec~~ed ~e~
                       ar~d 'Fox tl3e ~o~dowirng reason_


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                       F~~tlier       art tiayeth iV'ot.

                                                                           ~GABRIEL A. HERNr1NDEZ
                                                                           SCH#Ob07                 EXP DATE 09/30/ ~

                       SU~3S             DANA S~~ORN T(~ ~3~;FORE ~1E, a Nn~a~v'~'~iblic, o~ dais _~
                       off'              ~-ru-t/f       2~9 7,c,?         /l


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           ~' "~ ,^      : ~c.                    `,;f, -2'. ~~~`                                                       EGOLLADO -o_
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                          c~                                                                      County ~         ea  strict Courts and
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      A..~~••... • • ''~ ~~~`~                                                                                          Webb~unty. Texas
  Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 65 of 78


                                                                                    RETURN
                                                                            2020CVF000220D3
                                     CITATION
 PLAINTIE'FS` ORIGINAL PETITION, REQUESfi FOR DISCLOSURE, LOURDES RODRIGUEZ DE
 GONZAI.,EZ `S FSRST SET OF INTERROGATORIES TO DEFENDANTS 6 LOLJFtDES RODRIGUEZ DE
               GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

THE STATE   of TEXAS                                  CALENDAR CALL HEARING SET FOR
COUNTY   of wE~B                                          04/15/2020 AT 1:30PM
NOTICE TO THE DEFENDANT: ~~YOU HAVE; BEEN SUFaD. YOU MAY EMPLOY AN
ATTQRNEY.   IF' YUU OR. YOUR Al"TQRNEY (~O NOT FILE A WRITTEN ANSWER WITH
THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON THE MQNDAY NEXT
FOLLOWING THE EXPIRATION OF TWENTY DAYS AFTER ~OU ~aERE SERVED THIS
CITATION AND PETITION, A DEFAULT JUDGMENT MAY BE TAKE' GAINST YOU." ;

TO:   GERMAN RIO5 JFt. & CARLOS SANCHEZ COLLECTIVELY D/B/                     & G T~LJCKING
      BY SERVING THE GENERAL PARTNERS                                         ~~~n
      GERMAN RIGS JR.                                     ~                   ~ =~
      1717 B CORTE2                                                                ;r>
      LF~REDO TX 78043                                                         .~
                                                                            ~..
DEFENDANT, ZN THE HEREINAFTER STYLED AND NIIMBERE                     USE, YOU ARE
HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court of Webb
County, Texas, to be i:e~d at tree Baia courthouse of said county in the
city of Laredo, Webb County, Texas, by filing a written answer to the
Petition of Plaintif.~f at or before 10:00 O'CLOCK A.M. of the Monday
next after the enpirati.on of 20 days after                   tine date of service
thereol, a copy of which        accompanies  this    r.itation,     in the Cause #:
2020CVF~~t~0220D3, styled:
     MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
      INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
    INDIVZDL7ALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
  INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO G(7NZALEZ JR. ,
                                    PLAINTIFFS
                                        VS.
 JIT TRANSPORT LLC., ASHIRWAD GROUP LLC, GERMAN RIGS JR. INDIVIDUALLY,
 & CARLOS SANCHEZ INDIVIDUALLY, & D/B/A C & G TRUCKING, RAUL RAMIREZ,
                       & YJEEKS MARINE, INC., DEFENDANTS
Said P' air.tif£'s Pe t.i.tior was f~ led on O] /31.{2~;i:'~` ir. said court by:
      JON B. ELLIS, ATTORNEY FOR PLAINTIFF
      8620 N. NEW BRAUNFELS AVE. SUITE 110
      SAN ANTONIO TX      78217

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF P1EBB COUNTY, TEXAS, Issued
and given under my hand and seal of said court at office, on this the
5th day of February, 2020.
                       L   E   R     K       O   F      C   O   U   R   T

                                                     ~STHER LEGOLLFIDQ
                                                     WLBB COUNTY DISTRICT' CLERK
                                                     P.O. BOX G67
                                                     LARL O, ~'X~ 7~3 ~2
                                                      C .,
                                   £3 `f ;         t                           DEf'Umy
                                             Serenidad Diaz
     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 66 of 78




                                                           AFFIDAVIT OF SERVICE

                                                 cAusE No. ~-~~~ 0 C L~'~«t:%c~17c.~ t~_3

 STATE QF TEXAS

 COUNTY OF WFBB

        BEFORE ME, a Notary Public in and for the State of Texas, came and appeared the undersigned, of
 legal age, who by me being first duly sworn, under oath hereby deposes and says,

        "My name is GABRtEL A. HERNANDEZ. My place of business if SQ GROVE LAREDO, TEXAS. i am
 duly authorized process server under Rule 103 of the Texas Rules of Civil Procedure." This Affidavit if to
 certify the following:
                                                      ~~
                                                     0
           "CAM E TO HAND on the                    ~        day of           ~ ~ t~' ~ ~,~`1,~~j,^_____-20 ~ U

 "i executed the foregoing Citation in naming C~~ F►Zltia/-~:~ 1( j~,->~, .5'+• ~ ~~~ IZLUS:j ~al~(L'!fr Z
                                                                                                 +ar'~'r                          6S 3r
  'ti( '~TL     L-4''          ~   l~~i'2 lL~-             r C. Z         _ ~j
 defendant on the                 day of       ~h ruwry                                     202~by placing
 the Citation and a true copy of the plead+ng attached thereof in the United States Mail ,Via Certified
 Main No# ~D la t (o ~-!0 avv I c~3 ~ d Ob`? 2
 address     t `? t ~ 13 ~pC2T~_~ 5 T- L.a rid~ T~~is S' ~ ~-C~~-(

 "RETURN RECIEPT REQUESTED" and delivery to the addressee only, after having first endorsed on said
 citation the date of mailing and the nam a d address of the with-in named recipient, to certify which
 witness my hand this_ 1`~                       day of ~~~Y~                    20 Z~

                                                                         OH

 "The forgoing Citation was not served upon
  Due to the fact that:



 Further Affiant Sayeth Not
                                                                                                               /Q~..~.,~-r-~..., PSGLro'7
                                                                                               GABRIEL A. HERNANDEZ PSC #607
                                                                                                           EXP DATE 09/30 /20
/~              ~,
 SUBS      IB        AN       WOR~/TO BEFORE ME, a Notary Public, i, tf~is                             ~        _ of



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                                                                                                       1~~day the
                                                                                          .~;.~                   ngmai. 1 certi
                                  '.'                             `,           ~                    the       of ~1 .~ ✓ ~t . 20
                                                                              ~ ~~.       s. to               ESTHER DEGOLLADO
                                         '                       '_."-           ~~            1
                                                                                                           Clerk of the District Courts and
                                                                         ~'              .~         County C         t Law. Webb bounty, Texas

                                                                   ;;;% ~~1f2~1`~'~~~~~~~`~\
                                                                                                           C
      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 67 of 78
USPS.com~ - USPS Tracking Results                                      Page 1 of 2

  _ - ~ ~,   ,.

  LISPS Tracking                                                                       FAQs >


                                    Track Another Package -}-




                                                                                  Remove X
  Tracking Number: 7019164000103100672

  Your item was delivered to an individual a# the address at 2:51 pm on February 14, 202Q ,
  in LAREDU, TX 7$043.


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                                                                                            m.
  C✓ Delivered                                                                              av
  February 14, 2020 at 2:51 pm                                                              ",
  Delivered, Left with Individual
  LAREDO, TX 78043
  Get Updates ~/
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     Text & Emai1 Updates                                                               v


     Tracking History                                                                   ~


     Produc# Information                                                                v



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                                       Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 68 of 78



                                                                                                                                                                           2020CVF000220D3
                                                                                                              OFFICER'S RETURN

                                                     Came to hand on the          day of    __                2020 at
                                                                 O'CLOCK              .M.         L~,xecutea       a~
                                                                      ___      within the COUN'T'Y of
                                at                            _    O'CLOCK       .M.   on  the               day   of
                                                                    2020, by delivering to the within named GEx~rr
                                R20S JR. 6 CARLOS SANCHEZ COLLECTIVELY D/B/A C & G TRUCKING BY
                                                                                               SERVING THE
                                GENERAL PARTNERS GERMAN RiOS JR., each, in person, a true copy
                                                                                                        of
                               this citation together with     the accompanying copy of the
                               petition, having first attached such copy of such petition to
                               such copy of citation and endorsed on such copy of citation the
                               date of delivery.

                               The distance                                           actually travelled by me in serving                                                       such    process
                               was _                                                  miles, and my fees are as .follows:



~ Con ~ptete items 1, 2, and 3.                                                            A. Signatur
                                                                                                                                              O Agent
~ Prin your name and address on the reverse                                                X
  so t gat we can rotum the card to you.                                                                         _                               Adaressee
                                                                                           B• R       ei     ~y (Panted Name}          C. Dat of De ivery
r Atta ~h this card to the back of the maflpiece,
  or o i the front if space permits.                                                                       ._ C`'                         ~' ~          ~ ~~~ONSTAI3LE
7. Artie e Add   8d to:                                                                    D. Is delivery address different from item 1? ❑ Q
                             ~L~I~r~~~                                                        If YES, enter delivery address bolow:      ❑ No
  `~~h~r      , ~,~,f~r • ,4
C stL e ~Q~y~r4Y,p~(~q</~!~~AW~~G                                                                                                                                        COUNTY,       TEXAS
~YSN yLvZr✓G?ke 4Qiy[n~L ~a~tTiyOL~
   ~R Kr►
          ~'C'D/Lf~
  /7i 7                                                                                                                                                       ----
     ~~~~rZ~Yj                                                                                                                                                                       DEPUTY
  G.~

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          'I"') I~~~ I') ~ ~~I II~ III' ~ II~I/ II ~ ~~ I~ (II ~I)
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                    Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 69 of 78
r---- —
I~.~ • ` ,
                                                                                                                                                     RETURN
                                                                                                                                             2020CVF000220D3
                                                CITATION
               PLAINTIFFS` ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE
               GONZALEZ`S FIRST SET OF INTERROGATORIES TO DEFENDANTS 6 LOURDES RODRZGUEZ DE
                          GONZALEZ`S FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

             THE STATE of TEXAS                                                                                 CALENDAR CALL HEARING SET FOR
             COUNTY of caESB                                                                                        04/15/2020 AT 1:30PM
             NOTICE TO THE DEFENDANT: "Y(~U HAVE SEEN SUED.                  YUU M Y ?~htP1,0Y 'AN
             A'1'TOi2NE'; .    1 F' YOU Q1 YC3U1~ A'T'TORNEY DC) N'JT FILE A W      ~~ ANSW~,R WITH
             T'HG CLL~ftK Wf-10 ISSUED THIS CI'I'F1TlON BY I0:00 T~. t~t. ON      E ~MOND~Y NEXT
             E'OLLOGIING 'iHE ~;XPIRAi'ION OF 'TWENTY i~AYS AI'TER YOU ',~ • ~,~; ~.-SFRV~;D
                                                                                      -.- .      T!{IS
             CI'1'A`I'IUrd FIND PE'T'ITION, A DEEAUI,T JUDGMENT MAY B~ TAKEN     ,AT_N~T ~L'."
                                                                                            _,~,
             TO:          GERMAN RIGS JR                                                                                                           ,'          ~~^      ~.
                                                                            U~         WF~EREVER HE: MAY f3E F')UTvD
                          1717 B CORTEZ
                                                                                       ~'IF, PF~'IVA'Cli PEROC„iS.                                  ~.~        ''
                          LAREDO TX  78043

             DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE
             HEREBY COMMANDED TO APPEAR BEFORE THE 341st District Court of Webb
             County, ':'exas, to be held at tt~e said courthouse of said county in the
             city or Lare~ao, Webb County, 'Pex~s, by fi lin J a written answer ro the
             Petition vf. Plai.nti_ff a' or be Lore 10:00 O'C~_OCY A.M. of the 'Monday
             next after the ex~;iration of ?_0 c',ays af:tez~ the date of service
             t}icreof, a copy o~ whic!~ accompanies this ci~atior., in the Cause #:
             ~r20c,~„ , ",02 0[:,3, sryl. •~ d:
                  MA LOURDES GONZALEZ INDIVIUALLY, LOURDES RODRIGUEZ DE GONZALEZ
                   INDIVIUDALLY, LESLYLE GONZALEZ INDIVIDUALLY, CYNTHIA GONZALEZ
                 INDIVIDUALLY, LAURA GATICA INDIVIDUALLY ROBERTO GONZALEZ ANCIRA
               INDIVIDUALLY & AS REPRESENTATIVE OF ESTATE OF ROBERTO GONZALEZ JR. ,
                                                   PLAINTIFFS
                                                       VS.
              JIT TRANSPQRT LLC.,        ASHIRWAD GROUP  LLC, GERMAN RIGS JR. INDIVIDUALLY,
              & CARLOS     SANCHEZ   INDIVIDCJALLY,  & D/B/A C & G TRUCI{ING, RAUL RAMIREZ,
                                       & WEEKS MARINE, INC., DEFENDANTS
             :.i~x1Cf     i~c31_ . . ..    ~_ r 3   ,~c L   ~'.".       ~. .:>     i     . .~   <, . .    ~.,    ~_f ( I c i . l~   ,.   5<31C~   ~~Ol1CL      (:~' :
                          JON B. ELLIS, ATTORNEY FOR PLAINTIFF
                          8620 N. NEW BRAUNFELS AVE. SUITE 110
                          SAN ANTONIO TX 78217

             WITNESS ESTHER DEGOLLADO, DISTKI!:`l' C~LRK OF WEBi3 ~C)L'NTY, 'PGXt?S, Issued
             ~it~cl giver. under my hand and seal of said court at office, on this the
             5th day of February, :-. _ ~ ~ .

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     Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 70 of 78
a


                                                            2020CVF000220D3
                               OFFICER'S RETURN

         Came to hand on the          day of                   2020 at
                    O'CLOCK               .M.       Executed         at
                                   within the COUNTX of
    at                 O'CLOCK       .M.   on  the            day    of
                        2020, by delivering to the within named GERtKAN
    Rios JR, each, i.n person, a true copy of this citation together
    with the accompanying copy of the petition,          having first
    attached such copy of such petition to such copy o~ citation and
    endorsed on such copy o~ citation the date of delivery.

    The distance   actually travelled by me in serving such          process
    was  ~         miles, and my tees are as follows:

    Total Fee for servzng this citation        $

    To certify which, witness my hand officially.


                                           SHERIFF, CONSTABLE

                                                           COUNTY, TEXAS

                                     BY
                                                                  DEPUTY

    THE STATE OF TEXAS }
    COUNTY OF WEBB     }

    Before me, the undersigned authority, on this day personally
    appeared                                 who after being duly
    sworn, upon oath said that a notice, of which the above is a
    true copy, was by him/her delivered to
                                                  on the
                 day of

    SWORN TO AND SUBSCRIBED BEFORE ME on the       day o~
                               ~o certify which witness my hand and
    seal of office.



                                                             NOTARY PUBLYC
                                                     MY COMMISSION EXPIRES
                         Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 71 of 78



                                                                  PROCESS SERVER'S RETURN

                                                            CAUSE NO. Z v Zo ~U f~= ~(~p Z ZU d 3

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                            COUI~TTY OF W~BB

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                                   B~F(~12E 1~~, a Nc~tarq P~ab~ic irn ar~d ~o~ ~~ae Sate of 'Texas, cataae and appeared the
                            undersigned, o~ legal age, who by me being first duly sworn, under oath hereby deposes and
                            says,

                                   "My name is GABRIEL A. HERNANDEZ. Mq place of business if 84
                            GROVELAREDO, TEXAS. I ~rr~ duly aui~orized paocess server under R~a~e 103 of the
                            Texas Rules of Civ~~ Procedure." '~'~e foregoing ins~rurnien~:

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Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 72 of 78




                 ATTACHMENT 2
3/9/2020         Case 5:20-cv-00037    Document 2 Filed on 03/09/20 in TXSD Page 73 of 78
                                  publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=840747

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                                                          CnsE No. 2020CVF000220D3


                                                                                                                              ether Injury
 GONZALEZEESL~YLE GONZALEZD,CYNTH A GONZALEZ,LAURA                         §                   Case Type: orb amagea(DC)e
 GATICA,ROBERTO GONZALE2 ANCIRA VS. JIT TRANSPORT                          §                     Subtype: Other Injury or Damage (DC)
 LLC,ASHIRWAD GROUP LLC,GERMAN RIOS JR.,CARLOS                             §                   Date Filed: 01/31/2020
 SANCHEZ,GERMAN RIOS JR. & CARLOS SANCHEZ,RAUL                             §                    Location: --341st District Court
 RAMIREZ,WEEKS MARINE INC.

                                                                   PARTY INFORh1AT10N


                                                                                                                Attorneys
 Defendant     ASHIRWAD GROUP LLC


 Defendant     GERMAN RIOS JR. 8 CARLOS SANCHEZ


 Defendant     JIT TRANSPORT LLC


 Defendant     RAMIREZ, RAUL


 Defendant     RIOS JR., GERMAN


 Defendant     SANCHEZ, CARLOS


 Defendant      WEEKS MARINE INC.


 Plaintiff      GATICA, LAURA                                                                                   JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090 x2108024131(W)


 Plaintiff      GONZALEZ ANCIRA, ROBERTO                                                                        JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090 x2108024131(W)


 Plaintiff      GONZALEZ, CYNTHIA                                                                               JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090 x2108024131(W)


 Plaintiff      GONZALEZ, LESLYLE                                                                               JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090x2108024131(W)


 Plaintiff      GONZALEZ, MA LOURDES                                                                            JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090 x2108024131(W)


 Plaintiff      RODRIGUEZ DE GONZALEZ, LOURDES                                                                  JON B. ELLIS
                                                                                                                 Retained
                                                                                                                2108329090 x2108024131(W)

                                                              F.VF.NTS &ORDERS OF TIIE COURT


            OTHER EVENTS AND HEARINGS
 01/31/2020 Civil Case Filed (OCA)
 01/31/2020 Original Petition
              PLAINTIFFS ORIGINAL PETITION, REQUEST FOR DISCLOSURE, LOURDES RODRIGUEZ DE GONZALEZ'S FIRST SET OF
              INTERROGATORIES TO DEFENDANTS &LOURDES RODRIGUEZ DE GONZALEZ S FIRST REQUEST FOR PRODUCTION TO
              DEFENDANTS. (SD)
 02/04/2020 Jury Demand
              JURY DEMAND PAID BY ATTORNEY JON 8. ELLIS. (SD)
 02/04/2020 Calendar Call
              FAXED CALENDAR CALL TO ATTORNEY JON 8. ELLIS. (SD)
 02/05/2020 Notes-Miscellaneous
              AS PER ATTORNEY JOH ELLIS, ONLY ONE CITATION IS NECESSARY AT THIS TIME FOR GERMAN RIOS JR. & CARLOS SANCHEZ
              COLLECTIVELY D/B/A C & G TRUCKING. REQUESTING CITATION AS TO CARLOS SANCHEZ COLLECTIVELY D/8/A C & G TRUCKING BY
publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=840747                                                                     1/2
3/9/2020          Case 5:20-cv-00037    Document 2 Filed on 03/09/20 in TXSD Page 74 of 78
                                   publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=840747
                SERVING THE GENERAL PARTNERS GERMAN RIOS JR. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO JIT TRANSPORT LLC BY SERVING ITS REGISTERED AGENT SHETUL 8. MUCHHALA. PLACED ON
                PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO ASHIRWAD GROUP LLC BY SERVING ITS REGISTERED AGENT SHETUL 8. MUCHHALA. PLACED ON
               PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO GERMAN RIOS JR.. PLACED ON PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO CARLOS SANCHEZ. PLACE ON PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO RAUL RAMIREZ. PLACED ON PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO WEEKS MARINE, INC. BY SERVING ITS REGISTERED AGENT THOMAS P BOYNTON. PLACED ON
                PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation-Issuance
                (2) CITATIONS ISSUED AS TO GERMAN RIOS JR & CARLOS SANCHEZ COLLECTIVELY D/B/A C & G TRUCKING BY SERVING THE
                GENERAL PARTNERS GERMAN BIOS JR.. PLACE ON PRIVATE SERVER BASKET. (SD)
 02/05/2020   Citation
                  GERMAN RIOS JR. & CARLOS SANCHEZ                      Served      02/14/2020
                                                                        Returned    03/04/2020
 02/05/2020   Citation
                  WEEKS MARINE INC.                                     Served      02/13/2020
                                                                        Returned    02/18/2020
 02/05/2020   Citation
                  RAMIREZ, RAUL                                         Served      02/12/2020
                                                                        Returned    02/18/2020
 02/05/2020   Citation
                  SANCHEZ, CARLOS                                       Served      02/15/2020
                                                                        Returned    03/04/2020
 02/05/2020   Citation
                  RIGS JR., GERMAN                                      Served      02/15/2020
                                                                        Returned    03/04/2020
 02/05/2020   Citation
                  ASHIRWAD GROUP LLC                                    Unserved
 02/05/2020   Citation
                  JIT TRANSPORT LLC                                     Unnerved
 02/18/2020   Citation Return-Executed
                CITATION RETURNED EXECUTED AS TO WEEKS MARINE INC. DATE OF SERVICE 02/13/2020
 02/18/2020   Citation Return-Executed
                 CITATION RETURNED EXECUTED AS TO RAUL RAMIREZ. DATE OF SERVICE 02/12/2020
 03/04/2020   Citation Return-Executed
                 CITATION RETURN EXECUTED AS TO GERMAN BIOS, JR. (DATE OF SERVICE 02/15/2020)
 03/04/2020   Citation Return-Executed
                 CITATION RETURN EXECUTED AS TO CARLOS SANCHEZ (DATE OF SERVICE 02/15/2020
 03/04/2020   Citation Return-Executed
                 CITATION RETURN EXECUTED AS TO GERMAN RIOS JR. & CARLOS SANCHEZ COLLECTIVELY D/8/A C&G TRUCKING BY SERVING THE
                 GENERAL PARTNERS (DATE OF SERVICE 02/14/2020)
 03/05/2020   Letter
                LETTER FROM PARALEGAL KIMBERLY S. PELS (DATED 03/05/2020) RE: CERTIFIED COPIES OF ALL PLEADINGS, INCLUDING ALL
                 CITATIONS AND SERVICE DOCUMENTS.
 03/05/2020   Notes-Miscellaneous
                 CALLED KIMBERLY PELS RE. CERTIFIED COPIES. KIMBERLEY STATED THEY WERE REQUESTING THE WHOLE FILE, WHICH
                INLCUDES 67 PAGES, AND WILL BE PAYING BY SENDING A CHECK THROUGH MAIL.
 03/06/2020   Letter
                 LETTER FROM PARALEGAL KIMBERLY S. PELS RE: PAYMENT FOR CERTIFIED COPIES. ATTACHED WITH SELF-ADDRESSED
                ENVELOPE. (FEES PAID)
 03/06/2020   Notes-Miscellaneous
                 CERTIFIED COPIES AND RECEIPT MAILED IN SELF ADDRESSED ENVELOPE VIA FEDEX EXPRESS. PICK UP NUMBER: LRDA68
 04/15/2020   Calendar Call (1:30 PM) (Judicial Officer Palomo, Beckie)




publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=840747                                                     2/2
Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 75 of 78




                 ATTACHMENT 3
      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 76 of 78




                              LIST OF COUNSEL OF RECORD

         Defendant, Weeks Marine, Inc. (“Weeks Marine”), in accordance with Local Rule 81,

submits the following list of counsel of record and parties represented:

1.       Plaintiffs:

         MA LOURDES GONZALEZ
         LOURDES RODRIGUEZ DE GONZALEZ
         ROBERT GONZALEZ ANCIRA, INDIVIDUALLY AND AS
         REPRESENTATIVE OF THE ESTATE OF ROBERTO GONZALEZ JR.
         through their counsel of record:
         Sadovsky & Ellis, PLLC
         Jon B. Ellis (State Bar No. 24080878)
         8620 N. New Braunfels Avenue, Suite 110
         San Antonio, Texas 78217
         Telephone:      (210) 832-9090
         Facsimile:      (210) 802-4131
         E-Mail:         jon@sadovskyellis.com

                and

         THE ARMSTRONG FIRM, PLLC
         Ron W. Armstrong II (State Bar No. 24059394)
         310 S. St. Mary’s Street, Suite 2700
         San Antonio, Texas 78205
         Telephone:    (210) 277-0542
         Facsimile:    (210) 277-0548
         E-Mail:       rwaii@tafpllc.com




{N3981141.1}
      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 77 of 78




         Plaintiffs:

         LESLYLE GONZALEZ
         CYNTHIA GONZALEZ
         LAURA GATICA
         through their counsel of record:
         THE CARLSON LAW FIRM
         Brantley W. White (State Bar No. 00789722)
         E-Mail:        bwhite@whiteandcarlson.com
         Steve S. Dummitt (State Bar No. 24082936)
         E-Mail:        sdummit@carlsonattorneys.com
         Cynthia N. De Santiago (State Bar No. 24090997)
         E-Mail:        cdesantiago@carlsonattorneys.com
         6243 I-10 # 205
         San Antonio, Texas 78201
         Telephone:     (210) 696-8600
         Facsimile:     (210) 802-4131

2.       Defendants:

         WEEKS MARINE, INC.
         RAUL RAMIREZ
         through their counsel of record:
         JONES WALKER LLP
         Jefferson R. Tillery (SDTX #295817)
         C. Barrett Rice (SDTX #815456)
         Jennifer A. David (SDTX #3229371)
         201 St. Charles Avenue, 50th Floor
         New Orleans, Louisiana 70170-5100
         Telephone:     (504) 582-8000
         Facsimile:     (504) 589-8448
         E-Mail:        jtillery@joneswalker.com
                        brice@joneswalker.com
                        jdavid@joneswalker.com


                and




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      Case 5:20-cv-00037 Document 2 Filed on 03/09/20 in TXSD Page 78 of 78




         JONES WALKER LLP
         JUSTIN P. QUIN (TX Bar No. 24103893)
         811 Main Street, Suite 2900
         Houston, Texas 77002
         Telephone:    (713) 437-1877
         Facsimile:    (713) 437-1949
         E-Mail:       jquin@joneswalker.com

3.       Parties Believed to Be Represented:

         JIT TRANSPORT LLC
         ASHIRWAD GROUP LLC
         through their counsel of record:
         BAIR HILTY, P.C.
         Wendi R. Ervin
         14711 Pebble Bend Drive
         Houston, Texas 77068
         Telephone:     (713) 554-2623 (Direct)
                        (713) 862-5599 (Main)
         Facsimile:     (713) 868-9444
         E-Mail:        wervin@bairhilty.com

4.       Parties Unrepresented:

         CARLOS SANCHEZ, INDIVIDUALLY AND
         d/b/a C&G TRUCKING
         4019 Santa Cleotilde
         Laredo, Texas 78041
         Telephone:    (252) 754-9512

         GERMAN RIOS, INDIVIDUALLY AND
         d/b/a C&G TRUCKING
         1717 B. Cortez
         Laredo, Texas 78043
         Telephone:    (956) 206-2294
         E-Mail:       german606.r@gmail.com




{N3981141.1}                                      3
